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Response ID              Guest Name               Visit Time                                                       Comments
                                                                        Great experience. Thank u for making this so much easier and more affordable for those with
    23806                                    12/19/14 12:00 AM
                                                                                                           limited insurance options.
    15689                                     10/7/14 12:00 AM                       Great concept, love it! Especially for those who don't have insurance.
                                                                    I had never heard of your facility or service before today. I was so impressed that I came home and
                                                                     researched THERANOS. I spent the first 20 years of my career working in healthcare and physician
                                              9/23/14 12:00 AM       clinics.I was blown away not only by the prices being so low, but you published them! I'm going to
                                                                        find out why my insurance doesn't use this lab..it will save the company. You can bet I will be
                                                                                                         referring all my friends to you!
                                                                    Safeway and cvs should be added. This is the best thing for us who have no insurance. Thankyou so
                                              9/19/14 12:00 AM
                                                                                                       very much. Get into show low, AZ.
                                                                        As my Dr requested multiple lab tests I thought I would have to go to a Walgreens that had a
    16962                                    10/19/14 12:00 AM       Phlebotomist on site, but the tech was able to take 3 painless finger pricks. I don't have insurance
                                                                                          and really appreciate your phenomenal pricing and services!
                                                                        Very professional quick & easy. The price is a Godsend for those of us who are without health
    17071                                    10/22/14 12:00 AM
                                                                                                             insurance. Thank you!!
                                                                         I usually pay over $200 for lab work, today for 4 tests I paid only $27!!!! That is unheard of. I
    16947                                    10/18/14 12:00 AM         appreciate someone thinking of people that can't afford to pay a lot for healthcare. This was so
                                                                                    convenient. I'm going to recommend theranos to my friends and family.
                                                                     The main reason I went was because of the cost. I am often sent a high bill for my bloodwork with
                                                                    insurance. When I got there, the service was fast, the ladies were super and professional and I must
    14754                                     9/12/14 12:00 AM
                                                                     say, it was the best experience I have ever had. Plus, no bruising whatsoever! I will continue going
                                                                                            there for my bloodwork from now on and thank you!

                                                                    lab was referred to me by Naturopath to save money due to large deductible for insurance. I was a
                                                                       little unsure but have used Walgreens and CVS for flu shots so I trusted the referral. I came in
    14875                                     9/17/14 12:00 AM
                                                                    fasting and was in and out in 20 minutes. Sonora Quest and Lab Corp was a minimum of 30 min. in
                                                                                   my past experience. I have waited as long as 45 min. at those facilities.

                                                                       My boss is a physician and is also my primary care doctor; she sends most of our patients to
                                                                    Theranos now because the pricing is unbeatable, you submit to insurance, don't charge draw fees,
    15155                                     9/22/14 12:00 AM          get results back in two days, and all of our patients have reported a pleasant experience at
                                                                    Theranos. My experience was pleasant, also, and the technician was good. The process is quick and
                                                                                      simple and we hope you expand into more Walgreens locations.
                                                                    I don't have health insurance and I am SO GRATEFUL for companies like your that are changing the
    28593                                    Pending Confirmation
                                                                                      face of healthcare. Thank you for making it actually affordable!!
    27610                                    Pending Confirmation                     Low cost is important for those items not covered by insurance
    24879                                    Pending Confirmation                      Best idea anybody has ever had love prices I have no insurance
                                                                     Not only was the blood draw painless, but ir is the price point. I can actually afford lab work with
    10238                                     7/24/14 12:00 AM
                                                                                                     out insurance. Totally awesome !




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                                                              I'm so thrilled to have learned about you! I learned about Theranos through a friend after explaining
                                                                that without medical insurance (after losing my job this Spring), my blood tests would cost $500
    13408                                  8/29/14 10:41 AM       each time. Because I didn't have the money for the tests, I've run out of meds and suffering.
                                                                 Theranos has given me hope and now I can see my Dr. and get my meds filled. I will publish an
                                                                                   article on my findings so that others can also benefit. Thanks!

                                                                With not having insurance and the fact that I am a difficult stick for blood draws this was such a
                                                                inexpensive and easy way to have my blood tests done. Other than not being able to do ALL my
    14860                                  9/15/14 5:37 PM
                                                                   tests and would like to of been able for my results be sent to my PCP office and specialist.
                                                                       Unfortunately only the Dr. who ordered my test will be provided with the results.
                                                                Quick, easy, and relatively inexpensive [for those of us still uninsured]. So, bravo, Ms. Elizabeth.
    12205                                  8/22/14 6:17 PM
                                                                                  Stanford's loss is our gain. Thank you, thank you, thank you!
    15104                                  9/24/14 8:43 AM         We are cash pay and saved $110.00 because we went to your clinic. We are very happy.
                                                              I wish I could obtain these tests without a doctors order. It is amazing that the tests are available for
    14944                                  9/17/14 5:16 PM
                                                                          this cost. It is a life changer. But going to the doctor can cost a lot. I'm feeling a

                                                               The main reason I went was because of the cost. I am often sent a high bill for my bloodwork with
                                                              insurance. When I got there, the service was fast, the ladies were super and professional and I must
    14754                                  9/12/14 12:59 PM
                                                               say, it was the best experience I have ever had. Plus, no bruising whatsoever! I will continue going
                                                                                      there for my bloodwork from now on and thank you!
    12202                                  8/22/14 9:12 AM                         I am self pay, and was SO happy with the cost of the labs!!
                                                               We pay cash for our medical expenses so it was a huge relief to have found Theranos. The prices
    15248                                  9/18/14 6:54 AM
                                                              were drastically better than Sonora Quest and the overall experience was far better too. Thank you
                                                                    theranos was available at a time when i was truly in need of the service. the prices were
    15173                                  9/23/14 11:33 AM
                                                                                            unbelievabl.i will forever be \ngrateful........
    12173                                  8/22/14 9:19 AM                                 Price was fantastic (I don't have insurance)\n
                                                              I am beyond thrilled about Theranos\nFirst of all, I don't have medical insurance so I saved a lot of
    12076                                  8/19/14 3:36 PM    money.\nAlso, the staff there were awesome and the procedure was quick and painless\nBravo for
                                                                                                                 you!!!
                                                                 I am so grateful for this option. My insurance wasn't going to cover these tests, you saved me
    18483                                  11/7/14 4:18 PM     sooooo much money. Great option for those who don't have insurance or poor insurance. Thank
                                                                                                                 you!!
                                                               My physician referred me here and everything was efficient and reasonably priced for a cash pay
    18523                                  11/10/14 8:27 AM
                                                                                                                patient.
                                                               My experience was awesome! I don't have insurance and knowing that I can get the bloodwork I
    29227                                   2/3/15 4:26 PM       need and actually afford it is a big relief! The fast and friendly service was a big plus and I will
                                                                                                    recommend it to everyone.
    31075                                  2/18/15 9:26 AM                        At last, a common sense, fair priced and fast system. Thanks.
    29774                                  2/10/15 12:40 PM     Great service at a very reasonable price. Open more centers so I don't have to drive 100 miles!




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                                                               Very convenient, efficient and reasonably priced ‐ finally I don't get gouged financially for simple
    31605                                  2/27/15 5:35 AM
                                                                                                           blood tests!
                                                               As someone who falls through the health care insurance cracks and pays for services myself, the
    31523                                  2/25/15 7:11 AM     drastically reduced cost of your tests will greatly increase the frequency and scope and thus the
                                                                                             benefits of my boodwork. Thank you.
                                                               What a great service especially for people like myself that don't have health insurance. The costs
    32115                                   3/7/15 8:21 AM
                                                                                      made it affordable to get everything my dr ordered.
                                                               Very convenient, efficient and reasonably priced ‐ finally I don't get gouged financially for simple
    31886                                   3/4/15 6:30 AM
                                                                                                           blood tests!
                                                              Thank you for making my blood draw experience quicker, easier and affordable! I'm spreading the
    32266                                  3/10/15 9:36 AM
                                                                                                     word about Theranos.
                                                               Very nice, quick, Jason is very professional and knolegeable. The price is so affordable as I have no
    33391                                  3/13/15 3:01 PM
                                                                insurance because of Obama care's cost is outragous. Thanks so much for this program. Patrick

    33238                                  3/11/15 10:25 AM        Thank you for your services. I don't have insurance, so paying out of pocket. Good pricing.
    33567                                   3/17/15 5:16 PM                     Very convenient, quick and easy access. I like the atmosphere..
    33921                                  3/23/15 11:48 AM               Thanks for having the option to get blood work done at a reasonable price.
                                                              very impressive and happy about prices and convenience. my doctor recommended the lab so that
    33912                                  3/23/15 10:51 AM
                                                                                                           says alot.
                                                              Cost and availability of the collection center were the most important issues. Being uninsured and
    33663                                  3/18/15 8:53 AM    not full time employed has made getting lab work out of reach, and the Dr's do not like prescribing
                                                                without lab follow‐ups.Good luck in growing your concept and best wishes for much success.

                                                               3 ‐4 times per year I need to get my thyroid test done. We are Canadians and don't have insurance
                                                               for a pr‐existing condition, therefore I'm so happy to have been introduced to Thearanos Lab. My
    34297                                  3/29/15 10:24 AM   previous experience with an other lab was some thing I tell all my Canadian frieds about. My doctor
                                                              sent my blood samples to this other company and I was charged almost 10 times the amount for the
                                                                                       same tests. \n\nThank you Theranos for being so fair.
                                                               First time ever someone was able to draw my blood on a first attempt....I am very impressed with
    34119                                  3/26/15 1:02 PM      the technician at theranos as well as the pricing is reasonable particularly for someone without
                                                                                                             insurance.
                                                                Wishing you were in more states. I'm only a winter resident in AZ. On Medicare. Grateful for the
    34116                                  3/26/15 9:34 AM      affordability of this particular blood work that insurance doesn't cover. \nCheck in process a bit
                                                                                      confusing but staff helpful and the tech was wonderful!
    34490                                   4/1/15 9:04 AM     Love this concept and the prices are excellent for those without insurance or with poor coverage.
                                                               First time ever someone was able to draw my blood on a first attempt....I am very impressed with
    34119                                  3/26/15 1:02 PM      the technician at theranos as well as the pricing is reasonable particularly for someone without
                                                                                                           insurance.
    34209                                  3/27/15 12:31 PM                 So convenient and affordable I will spread the word to friends and family!
    33813                                  3/21/15 8:20 AM                                        Fast, easy, and convenient.



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    34811                                   4/7/15 8:11 AM                         great idea, being in Walgreens, close to my home, easy access
                                                                                       Very nice efficient quick service.:).Tech was wonderful
                                                              !!!...friendly..knowledgable..kind...Environment very clean ..pleasant...Was very pleased with pricing
    35066                                  4/9/15 11:15 AM
                                                                        and willingness to bill insurance ...And also very pleased with service....thrilled my Dr
                                                                                          recommended:)...Saved me alot of $...Thank U !!!
    34722                                  4/2/15 11:15 AM        Liz was Awsome ! I live in show low need one here. I drive to Mesa to save money with you

    34490                                   4/1/15 9:04 AM     Love this concept and the prices are excellent for those without insurance or with poor coverage.

                                                               3 ‐4 times per year I need to get my thyroid test done. We are Canadians and don't have insurance
                                                               for a pr‐existing condition, therefore I'm so happy to have been introduced to Thearanos Lab. My
    34297                                  3/29/15 10:24 AM   previous experience with an other lab was some thing I tell all my Canadian frieds about. My doctor
                                                              sent my blood samples to this other company and I was charged almost 10 times the amount for the
                                                                                       same tests. \n\nThank you Theranos for being so fair.

                                                              Great visit, great price‐‐which was the deciding factor for me since we are currently self‐pay. Thank
    34947                                   4/9/15 4:31 PM
                                                                         you for providing affordable alternatives to the usual LabCorp/Sonora choices!
                                                                                       Very nice efficient quick service.:).Tech was wonderful
                                                              !!!...friendly..knowledgable..kind...Environment very clean ..pleasant...Was very pleased with pricing
    35066                                  4/9/15 11:15 AM
                                                                        and willingness to bill insurance ...And also very pleased with service....thrilled my Dr
                                                                                          recommended:)...Saved me alot of $...Thank U !!!
                                                                Such a wonderful method and a money saver. I don't have insurance so this is perfect for me. So
    36199                                  4/17/15 8:24 AM
                                                                        glad my Walgreens has Theranos! I am always happy to share my experiences!
                                                                Awesome service. Great alternative to other labs w less than convenient hours and high self pay
    36285                                  4/19/15 12:45 PM
                                                                                            prices! Like that there was no wait!!!
                                                               Wish more doctors would refer patients to your facility. Theranos clinic had friendly capable staff,
    35118                                  4/13/15 10:20 AM
                                                                       was efficient, as well a time and money savings to my family. Thankyou Kindly!
                                                               I have been to a Theranos facility twice and I love that they do not leave huge bruises on my arm.
    36150                                  4/15/15 6:55 AM      Wish that we had a Theranos in Show Low, AZ so I didn't have to drive 3 and half hours but well
                                                                                                         worth the drive.
                                                              FYI, my naturopathic physician sent me to Theranos the first time. I was delighted to find they could
    36829                                  4/28/15 9:07 AM
                                                               do all the tests ordered for me. And since it's only 2 1/2 miles away‐‐it is very convenient. THANKS
                                                                Awesome service. Great alternative to other labs w less than convenient hours and high self pay
    36285                                  4/19/15 12:45 PM
                                                                                            prices! Like that there was no wait!!!
                                                               Appreciate that such a convenient and cost effective service is available. Didn't realize until today
    36515                                  4/23/15 9:16 AM
                                                                the extensive hours they are open. Hurray! Walked right in and was out in 15 minutes. Great!




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                                                                                                                                                         -
                                                              God bless your company my last exact blood and urine , stool test cost me out of pocket $ 240.00 of




                                                                                                              -
                                                               which was very hard to pay not working you provided it for $ 24.00 thank you Jesus for Theranos. I
    36439                                  4/22/15 9:30 AM
                                                              will be a one man band wagon spreading the good news of your company.\nThank you,\

    37168                                   5/4/15 3:09 PM          Actually there is nothing. Cost was perfect even for me not having health insurance.
                                                                 Thank you for great service and absolutely great prices,:I'm cash pay and it cost 1/6th of the
    37224                                   5/5/15 1:27 PM    cheapest competition around!!! I have told many people, and will continue to tell them. Thank you
                                                                                                          very much
                                                               Awesome service. Great alternative to other labs w less than convenient hours and high self pay
    36285                                  4/19/15 12:45 PM
                                                                                            prices! Like that there was no wait!!!
                                                               I heard about this through a site on Facebook. We do not have health ins. coverage in this state. I
    37175                                   5/4/15 4:12 PM
                                                                  am very grateful we are able to get the blood tests needed at an affordable price. Thank you.
                                                                I'm glad that there is a place that doesn't charge outrageous prices for blood work. This type of
    37313                                   5/6/15 3:09 PM     place will keep the cost down for patients and insurance companies. I hope that they continue to
                                                                                                               grow.
    37290                                  5/6/15 10:34 AM               Great experience with cost so low I didn't bother sending it through insurance.
                                                               I heard about this through a site on Facebook. We do not have health ins. coverage in this state. I
    37175                                   5/4/15 4:12 PM
                                                                  am very grateful we are able to get the blood tests needed at an affordable price. Thank you.
                                                                  The technician I had was so nice. She was patient and polite and made the experience very
    38991                                  5/19/15 8:20 AM     memorable. The price of the test was affordable and the wait time was so quick. Thanks theranos,
                                                                                                        you're awesome!
                                                                I'm glad that there is a place that doesn't charge outrageous prices for blood work. This type of
    37313                                   5/6/15 3:09 PM     place will keep the cost down for patients and insurance companies. I hope that they continue to
                                                                                                                grow.
    38590                                  5/13/15 9:23 AM                                Great idea. Hope it lowers costs for everyone.
    38856                                  5/15/15 3:51 PM            The staff was very nice and efficient. I like the cost and easy access to the lab work.
    39287                                  5/21/15 9:44 AM                     Keep provide high quality and cheapest price for customers. Thanks
                                                               Blood test employee (Liz) was professional and friendly and is highly commended. Price for blood
    38763                                  5/13/15 6:05 PM
                                                                                test is welcome change compared to other places I've used prior.
                                                               I was VERY impressed with the price, technology, quick turnaround time, and the overall service.
    38612                                  5/12/15 9:32 AM
                                                                                 You've sold me as a regular Theranos client after just one visit!
                                                                  The technician I had was so nice. She was patient and polite and made the experience very
    38991                                  5/19/15 8:20 AM     memorable. The price of the test was affordable and the wait time was so quick. Thanks theranos,
                                                                                                        you're awesome!
                                                                   We made the trip up from Tucson, 2.5 hrs, each way just to go to Theranos. Tucson is so
    39341                                  5/24/15 3:11 PM    underserved. Pleeese come to Tucson. I had 42 blood tests and couldn't believe the small amount of
                                                               blood needed and the cost. Tell me if/when you go public as I want to buy stock in your company!

                                                              The service was excellent, no waiting, and your prices are excellent. I especially like that you tell me
    39132                                  5/20/15 7:31 PM
                                                               how much it is going to cost before the tests are done. I will highly recommend you to my clients.




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                                                              The price of my prescription is shockingly lower compared to what I have ever paid in the past to
                                                             outside labs and labs in Dr offices! I asked why? It was another surprise realizing all these years that
    39490                                  5/27/2015 11:44        I have been paying extra costs for my lab reports and now knowing I can skip all the extra
                                                             paperwork and pay for lab draws that are affordable when on a budget. And still get good service! A
                                                                                         bit of knowledge goes a long way. Thank you!
    39287                                   5/21/2015 9:44                    Keep provide high quality and cheapest price for customers. Thanks
    39895                                   6/1/2015 13:55                       Finally there is a place to go that is affordable for people to go.
    39685                                  5/29/2015 10:16                        I am so happy to have affordable blood testing like theranos
                                                               I love Theranos! I tell everyone about it! No wait, cheap rates (in between insurance right now),
    39599                                   5/28/2015 7:59
                                                                                     fast results I can see myself on the app. Love love love!




                                                                                                             -
                                                              my technician Lisa is great very friendly she knew what she was doing and did it fast she explained
    40320                                   6/8/2015 8:17      about the company and was very positive . thanks I will save over $200.00 a year just on this one
                                                                                                           test.
                                                              As someone without insurance, but proactive about my health, I am looking forward to being able
    40222                                   6/5/2015 15:02   to order my own tests soon. I've had hypothyroidism for 7 years and look forward to more frequent
                                                                                           and affordable self testing in the near future.
                                                               I was thoroughly satisfied with my visit to Theranos. The price is a fraction of the cost I've had to
    42187                                  6/23/2015 16:25    pay at other labs. The phlebotomist was very pleasant to deal with and made the blood draw very
                                                                                                       painless. Thank you.\n
    42123                                  6/22/2015 11:49               I'm glad and thankful you provide these services for a much lower price to us.
    41824                                   6/18/2015 9:16                          Love the pricing and that not so many vials were needed.
    40332                                   6/8/2015 10:19                               Thank you for your pricing. I am beyond grateful.
                                                             I'm amazed at how cheap they can be over other labs. It's Healthcare moving in the right direction ‐
    42121                                   6/23/2015 9:46
                                                                                               affordable without sacrificing quality.
    41611                                  6/15/2015 17:08     Great experience. Skilled and personable technician. Aﬀordable. How could it be be er? ðŸ˜‰
                                                              Great fast and friendly service from the tech and pharmacy. The lab was small but clean and we'll
                                                                maintained and the price was was extremely cheap, a little too cheap but I'm not complaining.
    41488                                   6/13/2015 8:41   When I seen the price I thought it was gonna be 2 interns having there way with my arm but it was 1
                                                             professional that if I was a doctor I would send everyone to. Thank you for being an affordable and
                                                                                                     professional company.
    41265                                   6/10/2015 7:34                                      Awesome convenient affordable
                                                                Robin was amazing! Will come back to see her again. It's refreshing to see such transparency in
    41426                                   6/12/2015 7:14
                                                                                           medicine! And such a skilled staff member!
                                                              I have told many of my friends about how pleased I am with your company. I emailed the head of
    41395                                   6/11/2015 8:10      our benefits dept and urged her to pass the info on to all of the employees at Oppenheimer &
                                                                              Co.Your company is a timely solution to reducing health care costs.
                                                              I was thoroughly satisfied with my visit to Theranos. The price is a fraction of the cost I've had to
    42187                                  6/23/2015 16:25   pay at other labs. The phlebotomist was very pleasant to deal with and made the blood draw very
                                                                                                     painless. Thank you.\n
    42123                                  6/22/2015 11:49           I\u0022m glad and thankful you provide these services for a much lower price to us.
    42502                                  6/28/2015 12:33                                 A great experience and cost is so affordable



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                                                              I am totally stoked about the pricing since I was a self‐pay for this blood draw, which was ordered
    42234                                   6/24/2015 9:16
                                                                 by an out‐of‐network doctor. Thank you for providing a low‐cost alternative to Sonora Labs.
                                                                   Very positive experience. I'm happy this service is available. I absolutely believe in self‐
    43027                                   7/7/2015 16:46
                                                                            empowerment, especially for health care. I am a clinical pharmacist
                                                             I was/am impressed with the painless finger stick, the cleanliness, professionalism, the app so I can
    42869                                   7/3/2015 7:21
                                                                get my own results!!!! I will definitely tell & recommend Theranos to my friends & family!!!!
                                                                 Loved being able to rule out my thyroid as the cause of my issues lately. Suffering from Graves'
    42858                                   7/3/2015 16:54      disease along with hashimotos means my thyroid is complicated. Being able to check on my own
                                                                                                             was reassuring.
                                                             LOVING that I can be in control of my own health! Thank u Elizabeth Holmes, Theranos, Doug Ducey
    42826                                   7/3/2015 15:55
                                                                                                               and AZ laws!
                                                             Totally painless. Excellent experience. I have no health insurance, without your centers I would not
    42521                                   6/29/2015 8:32      have been able to get much needed blood work done. Thank You so much. The young man who
                                                                                        drew my blood was excellent !!!!
                                                             Just not a fan of Walgreens or other big pharmacy chains. I try to support local businesses. I support
    43520                                  7/14/2015 10:59       Theranos and would like to see healthcare turn back to personal responsibility out of insurance
                                                                                                            companies hands.
    43169                                   7/9/2015 12:45                         So thankful for this service. I have no insurance and would not
                                                             Totally painless. Excellent experience. I have no health insurance, without your centers I would not
    42521                                   6/29/2015 8:32      have been able to get much needed blood work done. Thank You so much. The young man who
                                                                                        drew my blood was excellent !!!! Margaret Verhoek
    43381                                   7/13/2015 8:09                                            Fast,friendly and affordable.
    43340                                   7/11/2015 9:32                             I like to have access to my results and the affordability
                                                                I am so happy that we now have a law that will allow individuals to order their own lab tests and
    43042                                   7/8/2015 6:42
                                                                                that Theranos has made it possible to afford these tests. Thank you!
                                                             Hacer saber comunidad de k existe con ustedes este servicio ha muy bajo costo ya k yo lo ignoraba y
    43203                                   7/9/2015 10:43
                                                                              muchas personas tambien gracias y muybuen servicio y exelente precio.
    43170                                   7/9/2015 12:28           Cost of services is amazing! Saved me &350.00 over Sonora Quest that I used last year.
    44735                                  7/20/2015 13:35                             Love the prices especially in this economy! Thank you!
    44722                                  7/20/2015 10:03               The prices are very reasonable expecially for those who do not have insurance.
                                                               I would like to thank your company for offering such affordable prices. I work but my job does not
                                                             offer benefits without your company I would have had to pay 2000.00 for the labs requested by my
    44678                                  7/19/2015 15:07
                                                              doctor. I wouldn't have been able to get them if it wasn't for Theranos. I am so grateful. My health
                                                                                                          and wallet thank you.
    44809                                  7/21/2015 14:14                                       The cost of your service is phenomenal
    44582                                   7/16/2015 9:48                   I'm really glad you guys opened up in Arizona. Finally a place I can afford.
                                                              I saved $1400. by flying to Arizona from Texas, to have my blood tests done. You are awesome and
    46791                                   8/5/2015 12:56
                                                                               hope you are soon in every state. I read about you in AARP. Thank you!
    47126                                   8/11/2015 9:26                    The price for a blood work is very good if you do not have an insurance.
    46987                                   8/9/2015 8:32                                   Love the service, and your prices are amazing!!!




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                                                             What a great experience. Quick and painless. Love the finger draw since I'm an older lady and veins
    46786                                   8/6/2015 15:40
                                                                           aren't good. Thank you for making this so much easier AND affordable.
                                                             Wonderful online & costumer service experience / great concept and I really appreciate the low cost
    46934                                   8/8/2015 9:12
                                                                                            which is a HUGE for me! Thank you
                                                              Thank you for telling me max cost ahead of drawing blood. Thank you for telling me how to get
    46774                                   8/6/2015 12:44
                                                                                                     copies of my labs.
                                                              Everyone was kind and helpful. It was a wonderful experience. The price was affordable. I left my
    48628                                  8/18/2015 11:55
                                                                  job to care for my mother who suddenly died recently. Their kindness touched my heart!
    48624                                  8/18/2015 12:54          Thank you for making this process less painful and a low‐stress, affordable experience.
                                                              So great! Especially for students who are on a budget. Making my blood tests more affordable is
    48508                                   8/17/2015 9:32
                                                                                                   really great. Thank you.
                                                             so great to have options other than a physician's referral for simple tests, that are affordable. Thank
    48480                                  8/14/2015 10:54
                                                                                                              you
                                                              What a great experience. Quick and painless. Love the finger draw since I'm an older lady and veins
    46786                                   8/6/2015 15:40
                                                                            aren't good. Thank you for making this so much easier AND affordable.
                                                               I am a physician myself, in the radiology department at Stanford. I ordered a test for myself at
                                                             Theranos late Saturday afternoon, and for $25 received the result in 4 hours! At Stanford, that test
    48542                                  8/15/2015 17:09     probably would have taken 3 days because of weekend and would have probably cost around
                                                             $750!I have had some other routine blood tests done at your lab and cross checked the results with
                                                                                    Stanford and they were all congruent. Thank you. \n




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                                 Accession
    Date                 Store    Number                                                                       Notes
                                               First time Guest referred by Advanced Care Internal Medicine. She did not have Health Insurance and wouldn't of been able to get
                                             these Labs done if it weren't for Theranos, she said. Especially because she hasn't been feeling good. She used to work for Senora and
                                             couldn't believe the difference in pricing with no drawing fees. Check in time took 11 minutes because of the previous Guest's delay of
12/1/2014           WAG6582       121266                                                             transcribing paper work.

12/1/2014           WAG3464       121282           Guest had no insurance and so his doctor told him to come to us. He was very happy with our pricing. No procedural issues.

                                             This is a first time visit for our guest who was referred to us by her NP gyno, who also comes to this location for her labs. Our guest said
                                               that after viewing her last bill of over $1,200.00 from LabCorp, she dedcided that she was never going to be a part of that again even
12/1/2014           WAG4507       121371                        though she has insurance. Our guest said that her NP talks very highly of theranos. No procedural issues.
                                             Guest was very happy with our pricing. She told me she has friends with no insurance and she is going to tell them about us. She has to
12/2/2014           WAG3464       121714                               get blood work done regularly and will be coming back. Hoping for f/s next time! No issues.
                                              Reffered by Dr. Kelly. Guest does not have insurance and was very happy with our prices. Guest has a phobia of needles. He was very
                                             concerned about the procedure. I reassured him that most people do okay with the finger stick. He was very happy with the procedure
12/2/2014           WAG3657       121773                                        and said that it really helped that you cannot see the needle on the lancet.
                                                  First time guest to Theranos. She was referred by her doctor because she doesn't have insurance and the cost of the tests was
                                              affordable for her. She was a little nervous that she needed a venous draw because she is really scared of needles. She stated that she
                                                                                   didn't even feel the draw and was happy with her experience here.
                                             Check in took longer than 5 minutes because transcription was taking a little longer and guest was asking a few questions as to why she
12/2/2014           WAG5776       121854                                                          needed a venous instead of a fingerstick.

                                               first time guest referred by his doctor. The guest stated that he is currently without insurance because of what is offered through his
                                               work is not affordable. The check in was delayed because of issues with the scanner and the pharmacist not realizing that the pages
                                                 have to be scanned seperately. During the procedure the guest stated that he was not a good bleeder and his hands were heavily
                                               calloused. I told the wag tech that it would be ok to use a blue lance. Her first attempt failed because she lanced to far to the center
                                              and and not a firm enough of a lance. She was successfull with the second finger stick. The Third finger stick also failed because not a
12/2/2014           WAG4508       121926                                         firm enough of a lance so I went ahead and collected the second ctn.
                                             This was a first time guest, pretty much just passing thru Phoenix on his way to Wickenburg and usually lives full time in Minnesota. He
                                              came out here because of some personal reasons including wanting to get better at taking care of himself, so he went to a doctor that
                                             referred him to us for some tests and he was thrilled when he got the free visit coupon because he has no insurance right now. He said
                                              never‐the‐less he thought it was amazing how little we charged for blood tests and what a great thing we have going. He was slightly
                                               disappointed that we didn't offer the estrogen test his doctor ordered but he was happy with how fast the procedure was and that it
12/2/2014           WAG3049       121984                                                                     was pain free.

                                              This is a first time visit for our guest who was referred to us by her doctor because she does not have insurance. During check‐in, the
12/4/2014           WAG4507       122544         printer stopped working. Our guest used to go to quick test lab before she was informed about theranos. No procedural issues

                                              This was a first time guest, visiting on doctor's referral. She said she just switched insurances and the new insurance won't cover her
                                              maternity needs, so her doctor told her about us and how inexpensive we are, so she could come here and save a ton of money. She
12/4/2014           WAG3049       122654                    really liked that she was in and out quickly, even with having four vacutainers drawn and a urine collection.
                                              This was the guests first time with is. He was referred by his doctor so that in the event that his insurance denies the claim he will be
12/5/2014           WAG4046       122785                                                                  able afford the labs.
                                              Guest was on the phone with LabCorp comparing prices when she walked into the visit. We are considerably less expensive with our
12/5/2014           WAG3464       122895                                       prices. She is very happy with this because she does not have insurance.




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                                       First time guest referred by his doctor. He said that he is currently in between jobs and is unable to afford insurance at this time and is
12/5/2014           WAG4508   122942              glad to have an affordable option for blood work. During the check in the transcription process was slightly delayed
                                          First time getting blood work done with Theranos. He said his Doctor sent him to us because he had no insurance. He said he was
12/6/2014           WAG1272   123006                           expecting to pay 100s here, so he was really impressed with our prices. He used a coupon.
                                        Guest was referred by her Doctor per Mom, Because they dont have insurance. Guest was very happy with visit and service mom was
12/6/2014           WAG3132   123014                                          also impressed. Guest will be back for any future lab work.
                                         Guest was referred by there Doctor per mom, Because Guest doesn't have insurance. Guest was happy with his draw and method of
                                        the finger stick. Guest mother was also impressed with the services and the visit and she will be being her kids back for any future lab
12/6/2014           WAG3132   123015                                                                      work.                                                                        72
                                        This guest was a return guest with Theranos! He is a physician who uses our services and stated that it is a great option for individuals
12/6/2014           WAG4188   123046                                                           who don't have insurance.
                                          Guest was referred by his Doctor, because he doesn't have insurance Guest also said it is very conveinent as well. Guest was very
12/6/2014           WAG3132   123089                    impressed with the prices as well as the visit and service he said he will be back for any future lab work.
                                       Guest was referred by her Doctor, because she has no insurance she really like the prices it was more then half the cost she was payn at
12/6/2014           WAG3132   123113                        another lab. Guest was very happy with her visit and services and she will be for any future labs.

                                       This was a first time guest, referred by his doctor. He was fasting and went to his doctor to pick up the lab order and go over to Sonora
                                       Quest but when he got there, the doctor told him about Theranos, because he mentioned he didn't have insurance. He realized we are
                                          located just 5 minutes from his house and when he looked us up and saw the prices, he got really excited to come try us out. The
                                          doctor had written an original lab order on a Sonora Quest order and so rewrote a new Theranos one but forgot to fill out the top
                                          portion and the guest didn't have the original lab order with him. So the wag tech had to call customer support to call the guest's
                                       doctor and have the order electronically sent so that the doctor's name was on there. This is why the check in process took awhile. The
12/6/2014           WAG3049   123130            procedure went well, just one finger stick to fill the two CTNs and our guest seem pleased with his overall experience.
                                       Guest first time with Theranos. Guest liked the low prices and short wait time. Guest did not have insurance so she liked that the prices
12/6/2014           WAG6582   123175                                                           were low. Guest left happy.
                                       Guest was referred by his daughter. He likes howinexpensive we are because he doesn't have insurance. He also liked the shorter wait.
12/8/2014           WAG3657   123340                        He requested to do the urine collection first. Guest was very happy with the overall experience.
                                        Returning guest referred by his doctor. The guest stated that he has a high deductable insurance so its important to him to go to a lab
12/9/2014           WAG4508   123789                            with affordable pricing. I explained the urine collection to him and he collected on site.

12/9/2014           WAG3657   123808         Guest wanted to know when Theranos would be moving to Seattle since she is moving up there and does not have insurance.
                                         This is a returning guest. She said she was referred to us by 2 of her doctors. Our guest has insurance but pays out of pocket because
12/9/2014           WAG4507   123871                         her insurance says she has a pre‐existing condition and will not cover this. No procedural issues.
                                       First time guest. She said she came here because of the price of her test. Her Dr. had suggested her to come here because her insurance
                                        won't cover the test she was having done. She was glad to get a finger stick instead of a draw. Finger stick went very well and she was
12/9/2014           WAG3477   123877                                        finished quickly. She seemed really happy with her visit here today.
                                          Guest was referred by her Doctor because she is without insurance, Guest really like the prices she was very greatful that the prices
                                       were so affortable. Guest really enjoyed her visit and services she like that it was fast and painless. Guest will return with any future lab
12/10/2014          WAG4434   124016                                                                       work.

12/10/2014          WAG4046   124090     This was the guests first time with us. He was referred by his doctors office because he does not have insurance. the visit went well.
                                         This was the guests first time with us. The visit went well. He was referred by his doctor becuase he has no insurance and it sved him
12/10/2014          WAG4046   124198                                               over $100 to come to us rather than Sonora Quest.
                                       First time guest referred by his mom. His mom stated that she works in a doctors office that was visited by a Theranos rep and because
                                         she has a high deducable insurance decided to come here to reduce her cost. The procedure went well with no issue even with this
12/10/2014          WAG4508   124260                                                    being his fist time getting his blood drawn.



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                                       First time guest. Found out about us through her dr. She said she had no insurance, and loved our prices for the tests that she needs to
                                         have done. She complained about other labs prices that are unaffordable for people that don't have insurance. Her fingerstick went
12/12/2014          WAG3477   124809                                       very well and overall, guest was very happy with her visit with us.
                                                              Guest first time at theranos, Guest heard from us by a family member that visit theranos.
                                                                            Guest has no insurance and this lab offer good prices for testing.
                                                                                           Guest was a spanish speaker only.
                                                                          I offered to help with the 6 question survey but he did not want to.
12/13/2014          WAG3477   124960                                                               Survey was printed.

12/15/2014          WAG5668   125234         Guest was very happy that the test were very affordable sense he does not have insurance. Guest did not want any water.
12/16/2014          WAG3464   125534                              Guest has no insurance so her doctor told her about us and our prices. No issues.
12/16/2014          WAG4620   125607              This was her first visit with us, referred by her physician. She is without insurance and was trilled with the price.
                                        Guest was referred by her Doctor because she doesnt have insurance. Guest was very pleased by the services and visit and most of all
12/16/2014          WAG3132   125679                                           the prices she said she will be back for any future lab work.


                                            This was a first time guest to Theranos. She said the doctor's office she goes to has a Sonora Quest lab inside of it but her doctor
                                       suggested she try us out because we would be a lot less expensive for her insurance. Her insurance isn't the greatest and only covers so
                                            much and sometimes she has to pay things extra out of pocket. She was really excited to see our prices. She had a long check in
                                       because Theranos had to call her doctor to verify some of the ordered tests. Once she was in the PSC the procedure was quick, despite
                                        the fact that I had to stick her twice. She warned me that she had bad veins and that she has issues almost every time she has to have
                                          tests. She was under the impression that we were going to do a finger stick on her but because of all the tests the doctor ordered, I
                                        explained we would need a little more blood. If we did the finger stick we would probably have to drop some of the tests, so she said,
                                       no, she wanted to get them all done. She said she was used to having to be stuck multiple times, and she told me of some of the horror
                                           stories she's had in the past. Today there was nothing horrible about her draw, I stuck her and got a flash but it would not flow no
                                       matter what I did. In feeling around, I believe the vein collapsed because it felt like it had vanished. I tried the other arm and it worked
                                         great. Same type of vein as the first, but this one flowed for me. She did perform a urine collection in store and it was very fast, but I
                                       accidentally hit finish on the collect sample page, so it looks like a perform time of 4 minutes when it was more like 10 minutes. She did
                                         not want to fill out the iPad survey, she said she was in a hurry and would rather do it later, so I sent it via text message. She was also
12/16/2014          WAG3049   125735                                                grateful we'd get her results back in 24 to 48 hours.
                                        First time guest referred by his doctor. Guest stated that he is self employed and is without insurance coverage. He said that he found
                                       this location convenient and the pricing affordable. He was surprised that we are able to perform all his tests with such a small amount
                                        of blood. The check in was slightly delayed during transcription and the procedure was delayed by the urine collection including while
12/17/2014          WAG4508   125847                                         he was collecting the urine specimen I started with the next guest.

                                         First time Guest referred by                     . She couldn't believe their was a lab inside Walgreens. She is an Insurance specialist and
12/17/2014          WAG6582   125937               said she has alot of elderly Clients and will refer them to us in the future because alot of them don't have Insurance.
                                       Guest is return Guest, no procedural issues. She does not have insurance and thus is very grateful for the very affordable prices and the
12/17/2014          WAG3464   126020                                                                  great service we offer.
                                           Patient came in with her mom and brother, he was referred by their Doctor. Mom was happy about our prices since they had no
                                        insurance. Guest was not able to provide with enough urine, I told them he could take a kit home but she said today was her only day
12/18/2014          WAG1272   126353                                 off. I let her know that they may ask for another urine sample and she said it was fine.
                                         This is a first time visit for our guest who was accompanied by his father. His father and mother have both used theranos before. Our
                                         guest is very afraid of needles and was hoping for a finger stick but they need all the tests run so he did not switch to a finger stick. In
                                         the perform room, the guest's father said the last time he used LabCorp, his insurance was billed out of network and had to pay a bill
12/18/2014          WAG4507   126356                                                           over $2,000.00. No procedural issues.




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                                        First time Guest referred by Deseret Family Medicine. She really needed her labs done and did not have Insurance. Once she found
                                       out what she owed she wasn't sure if she could afford it, she was pretty shook up. So, we had some Theranos cards that our sales rep
                                       left us for special circumstances and the Wag Tech gave her one. She was so appreciative, she was almost in Tears. She said we made
12/19/2014          WAG6582   126465                                     her day and she will forever come back to Theranos for her future labs.
12/19/2014          WAG4434   126543                  Our guest today is another first timer who was sent to us from her doctor as she has no insurance currently.
12/20/2014          WAG2851   126795                    Check In: No issues , Procedure : No issues Guest did not have insurance really happy with our pricing .
12/22/2014          WAG4620   127019                                This was a new guest. He is without insurance. Very kind man, not much to say.
12/27/2014          WAG3048   127834                             Guest said she pays cash does not have insurance loves our prices. No collection issues.

                                          This was a first time guest, a two year old that was referred by his doctor. The mother said this was the first time he's ever had his
                                        blood drawn so she was a little nervous for him, and he came in already scared. As soon as I put the tourniquet on to check his arm he
                                       started flailing around and screaming and crying. I called the pharmacist in for assistance and together, we got the job done. The mom
                                         was just so grateful the doctor referred her here because she and her husband don't have insurance and are on a very tight budget.
                                          This helped them save a lot of money and even though the procedure scared her child, as soon as the needle was out of his arm he
                                       stopped crying. This seemed to relieve her and overall I feel that she was happy with the procedure. She didn't speak English very well,
                                       and because her son was trying to get into my supplies and draw on things with my pen, I just sent the survey to her phone. I didn't feel
 1/2/2015           WAG3049   128915                                      this was an appropriate situation to try to get her to do the iPad survey.

 1/5/2015           WAG3048   129181   The first EDTA CTN would not wick had to do a second stick to collect it. The Guest said he loved our prices he does not have insurance.
                                        Guest is new to theranos, and was referred by his doctor because he does not have insurance. A venous draw was performed and was
 1/6/2015           WAG4434   129769                                                     successful. No other information to report.
                                         First time guest referred by her doctor. Guest stated that she currently has a high deductible insurance plan which is why her doctor
                                          recommended Theranos. She also stated that she likes the hours of availability which makes it easy to work into her schedule. The
                                       check in process was delayed during transcription but also the wag tech got busy with other pharmacy duties and forgot to check on the
 1/6/2015           WAG4508   129845                                           progress of the transcription until I brought it to her attention.
                                        Guest was referred by his doctor. He does not have insurance and needed somewhere inexpensive to go. He loved our low prices and
 1/7/2015           WAG3657   129911                                                said that her would come to Theranos from now on.
                                        Guest was referred by her doctor. She was having insurance issues with her old lab and decided to find somewhere else to get her labs
 1/7/2015           WAG3657   129931                                                                        done.
                                        Guest was referred by his doctor because he doesn't have insurance right now. The order took a little longer to transcribe and the tech
 1/7/2015           WAG1197   129993                                got distracted with something else but the guest still seemed pleased with his visit.
                                             Guest is new to theranos, and was referred by her doctor because she does not currently have insurance. A venous draw was
 1/7/2015           WAG4434   130028                                          performed and was successful. No other information to report.
                                       First time guest referred by her midwife. The guest was saying how convenient all of out locations are and the pricing makes it so much
                                         easier to take the holistic approach to health care even though most insurances won't cover it. The guest asked about receiving the
                                         results for herself and I told her about the Theranos app which she downloaded while her order was being transcribed. The checkin
 1/7/2015           WAG4508   130043                                                      process was delayed during transcription.

                                       Check in did take a bit longer due to transcription and about two min patient stack up but nothing more. Guest loved how inexpensive
                                        we are especially because he is from Canada and had no insurance. He was saying how he hopes we expand out to them some day
 1/7/2015           WAG4188   130107         because he would use us and only us if he could. Draw went perfect, nothing to note. Guest was referred by:
 1/7/2015           WAG3008   130175                       Patients first time. Loves the prices due to no insurance. Said she will be back. Left very happy.
 1/7/2015           WAG3008   130198                                    Patients first time. No insurance yet. Loves the prices. Left very happy.




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                                        Guest loved our pricing due to no insurance. She thought putting us in a Walgreens is ingenious because we are easy to locate and she
                                       could do multiple things in the store while she was here. The draw went perfect, nothing to note. Guest said she will do the survey at a
                                       later time from the text we sent her because the application for the survey on the ipad is still not working. Guest was referred to us by:
 1/8/2015           WAG4188   130430
                                         Guest is a retired RN, referred by hi doctor because is insurance doesn't cover the test he wanted done but since we have such a low
 1/8/2015           WAG1197   130442                                                                cost he came here.
                                        First time Guest referred by                           Guest just moved here from Mexico and his wife found out about Theranos from
                                         the internet. He was real happy about the pricing being he didn't have Insurance. Check in time took 6 minutes because he was also
 1/9/2015           WAG6582   130636                                              paying for a prescription, then went to the restroom.
                                        Guest was loving the fact that it was so affordable because she did not have insurance. Theranos has given her the opportunity to get
                                       her routine labs with out having to worry about going broke afterwards. Perform took long because 2 finger sticks and a urine had to be
 1/9/2015           WAG5668   130688                                                   performed and she was a very slow bleeder.
                                         Returning guest referred by her doctor. Guest stated that she is currently without insurance and is so glad her doctor told her about
                                          Theranos because she would not be able to afford the lab testing otherwise. She also loves that this location is so close and there is
 1/9/2015           WAG5222   130887                                                               never a wait to get in.
                                         new guest doesn't have insurance yet and had to get her blood work done even after she gets benefits she will be coming here for all
 1/9/2015           WAG6241   130921                                                                  her blood work
                                        First time guest she was referred by her Doctor, she was glad about our affordable prices since she being having insurance issues. She
 1/9/2015           WAG1272   130948                         had no trouble waiting for her fingerstick ( 1 Hr. GTT). Her venous draw was quick and painless,

                                            The guest was at her doctors office and was notified after they drew her blood that her insurance would not cover the exams
 1/9/2015           WAG5504   130998      requested. They then referred her to Theranos as they explained that it would be more affordable. She was pleased with her visit.

                                       First time Guest referred by                  He wasn't able to go anywhere else for his labs because he couldn't afford it. Although he has
1/10/2015           WAG6582   131099            Insurance, it is a $3000.00 deductible. So, he was so happy to find out about us so he could get his prescriptions he needs.
                                           This was a new guest who has a high deductible insurance so she was thrilled with our pricing. I did a VP in the right AC and filled 2
1/13/2015           WAG3727   132098                                        tubes with no issues. She was in and out quickly and left with a smile.
                                           First time Guest referred by                   . Guest did not have Health Insurance so when she found out about Theranos she was
                                          thrilled. She had a finger stick and thought it was great and said she preferred that over venipuncture anyday. Check in time took 9
1/14/2015           WAG6582   132180                                                          minutes due to transcription delay.
                                       first time. guest is a physician but did not know about theranos until his friend told him about it, and now he is thininking of sending his
                                         patient that do not have insurance to theranos to get blood work done. guest clotted before i could fill the CTN due to poor grip but i
1/14/2015           WAG2851   132291                                      was successfully in the second attempt. guest asked for survey to be sent.
1/14/2015           WAG1197   132342                           Guest was referred by her doctor because her insurance doesn't cover the tests being ordered.
                                          This was our guest's first time here, referred by her doctor. She said she had insurance but even using that and going to another lab
                                           was going to be much more expensive so it was better for her to come here and save a ton of money. She was with her significant
                                       other for moral support, as she is terrified of needles. He said the last time she had blood work done the tech stabbed" her three times
                                         before getting blood. She did have small veins but I was able to easily locate a good one and get the blood collected very quick. She
                                       said it pinched a little but she was thankful it was done fast. She was happy to do the survey and on her way out she said "thank you for
1/14/2015           WAG3049   132565                                                              a pleasurable experience!""
                                         First time guest. He arrived here at about 5:45am. I apologized and explained that the tech wouldn't be here until 6am. He said it was
                                            fine he arrived early so he could find the location not knowing it was inside Walgreens. The WAG Tech, Cynthia, didn't arrive until
                                         6:12am. I was unable to process him manually because he was paying cash. When he came into the PSC I apologized to him about the
                                        wait. He doesn't have insurance at the moment and the doctor sent him here so he could have money verses getting the tests done at
1/15/2015           WAG1272   132603                                                   the doctors office. He was happy with the prices
                                        Guest was referred by            . Guest liked the finger stick and said that it was much better than a venous draw. Guest loved our prices
1/15/2015           WAG3657   132624                                                                  because he is self pay.



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                                           First time guest to Theranos. Guest was referred by his doctor. He was very pleased to know that Theranos offers their services in
1/15/2015           WAG5776   132801               Walgreens. He thought it was very convenient. He was pleased with the prices we offer because he was a cash pay.
                                       First time theranos guest. guest was referred to us by his dr and he was very happy about our prices because he currently does not have
                                          health insurance. there was a delay with check in because of transcription. wag tech did finger stick and did a great job. guest was a
1/15/2015          WAG11610   132859                                              great bleeder and no issues to report of during collection.
                                          First time guest he couldn't believe that we could come to Walgreens and have his labs done. He was shocked at the prices. He said
1/16/2015           WAG1272   133011                          with those prices since he doesn't have insurance he will definitely be coming back in the future.
                                       first time, guest is from Canada but heard about theranos from a friend that lives in Arizona and he has been watching to try our service
                                          and was happy to finally get the opportunity, guest said that he likes how affordable our prices are. no issues, filled out survey using
1/16/2015           WAG2851   133253                                                                        ipad

                                        This is a first time guest who who's mother heard about Theranos through a Facebook post from a friend. The mother was very happy
                                          how Theranos Support helped getting the labs faxed through her daughter's pediatrician. The mother mentioned that everyone at
                                       Theranos is very polite and well educated. The parents of this child believe its a basic human right to be able to get labs, but they could
                                                                                         not afford the price of the other laboratory's.
                                        The guest was drawn on her right cephalic vein with a 23G butterfly. The father sat in the chair and held the child with accordance to
1/16/2015           WAG1076   133301                      Theranos child policy grip, and the mother held the child's arm firmly while I collected the blood samples.
                                        First time guest referred by his doctor. The guest stated how convenient Theranos compared to Lab Corp and the pricing makes a big
1/16/2015           WAG4508   133072                             difference since he is with out insurance. The check in was delayed during transcription.
                                       Guest came to Theranos because he lost his job and insurance, has to pay for tests out of pocket. Was very happy to learn it was FS only
1/16/2015          WAG13596   133166                          because he is afraid of needles. Would like a copy of the test results mailed to his home address.

1/16/2015          WAG13596   133226       Guest referred by his physician due to his lack of insurance coverage, inquired about origins of Theranos. States this is awesome.""
                                        First time guest referred by her doctor. The guest stated that she doesn't have insurance and was glad when her doctor told her about
                                           Theranos and how much money it would save her. Check in and the procedure went smooth although she did have to wait for the
                                         perform room to become available. After guest had checked in she was reminded of a previous appointment so she went to that and
1/16/2015           WAG4508   133231                                                               came back afterwards
                                       This was a guest who was referred to us by her physician. She is without insurance and loved our prices. She was happy I only stuck her
1/16/2015           WAG4620   133328                                         once. She stated that she would usually be stuck several times.

                                       This was a first time guest, referred by her doctor. She said she was in between insurance companies, so was self paying, and we saved
                                       her a ton of money. She also said this was very convenient for her, right on her way home from work. She was worried and warned me
                                         that she may pass out because she has a tendency to do so, but there were no issues with that, and the procedure itself went great.
                                       She was willing to do the iPad survey but then I had a mix up somehow of labels on the vacutainers so I was trying to figure that out and
                                       wasn't going to make her wait while I did that. I told her I would text her a link and it would be very appreciated if she was able to take
                                        a moment to complete that when she was able. She told me she thought I was great and she loved that she was able to get in and out
1/16/2015           WAG3049   133347                                                                   so quickly.

1/17/2015           WAG3657   133549        The guest is new Phoenix and like Theranos because of the price, which she could afford it. She was pleased with the service.

                                       This was the guests' first visit with us. His draw went very well. He said his Dr. suggested coming here because guest gets a big bill when
                                        he has labs done. He was happy to find out about us and our prices. He said it was really close to where he lives and convenient. guest
1/17/2015           WAG3477   133579                              also did survey on IPad. He said he was glad he came here and will continue to do so.
                                       Guest was referred by her doctor. She doesn't have insurance so she was pleased that her bill wasn't that much compared to SQ or LC.
1/19/2015           WAG1197   133800                                                     Overall she seemed pleased with her visit.




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                                       Guest was referred by her doctor at IMS. She came here because she does not have insurance. She loved our prices and will come back
1/20/2015           WAG3657   134123                                                      next time she needs blood work.
                                        First time guest Spanish speaking, she was very happy that Theranos has such low prices since she doesn't have insurance and suffers
1/20/2015           WAG5776   134367                             from high blood pressure. Very happy it only took a fingerstick, no procedural issues.
                                        First time guest Spanish speaking, she was very happy that Theranos has such low prices since she doesn't have insurance and suffers
1/20/2015           WAG5776   134367                             from high blood pressure. Very happy it only took a fingerstick, no procedural issues.

                                        First time guest to Theranos. Guest was referred by her doctor because she doesn't have insurance and the prices we offer were very
                                        affordable for her. She was pleased with how easy it was to get her labs done with the fingerstick. Guest stated she will be returning.
                                                                             Check in was more than 5 minutes because of transcription.
1/21/2015           WAG5776   134597                   Procedure was more than 5 minutes because of a failed fingerstick and the guest collected her UA here.

                                        First time guest to Theranos. Guest was referred by her doctor because she doesn't have insurance and the prices we offer were very
                                        affordable for her. She was pleased with how easy it was to get her labs done with the fingerstick. Guest stated she will be returning.
                                                                             Check in was more than 5 minutes because of transcription.
1/21/2015           WAG5776   134597                   Procedure was more than 5 minutes because of a failed fingerstick and the guest collected her UA here.

1/26/2015           WAG1272   136454     First time guest, procedure was quick and painless, his Doctor send him to us since he had no insurance, he said he loved our prices.

                                        First time guest. His doctor recommended that he come here because he has to now pay out of pocket for blood work. HE has many
                                       bills with other labs because he is unable to pay them at the time of draw. He was grateful for the prices and everything that Theranos
                                                                                                       is doing.

                                         During check in the Check‐in Tech Karen said she forgot she had a Guest processing. Cynthia seen the guest still sitting in the waiting
1/27/2015           WAG1272   136703   area and finished the visit. Cynthia as well as myself apologized to the guest but he said it was fine he seen that the pharmacy was busy.
                                        Guest was referred by                  . Guest is self pay and loves our low prices. Guest liked the finger stick and said that he will come
1/29/2015           WAG3657   137446                                                        back next time he needs blood work.
                                         First time guest. He was worried that his insurance wouldn't cover the lab work. But he loved the prices compared to other labs and
1/30/2015           WAG1272   137718                                                   wouldn't mind paying for them out of pocket.
                                        Guest said she would like to see a Theranos closer to her home in Anthem, she liked the prices and the convenience of coming into a
1/30/2015           WAG4434   137875                                                           Walgreens. No collection issues.

                                       This was a first time guest, referred by his doctor. He was here with his mom for help because he had a broken foot. They were both
                                          very vocal about how great they think Theranos is. The procedure itself was perfect, no issues. The mom said she thought it was
                                       awesome how much money we saved them, even with insurance, they have a very high deductible and usually end up getting slapped
                                       with a large bill later on for blood work, that they then have to make payment arrangements for. They both thought it was great now
2/10/2015           WAG3049   141496                   quickly they were able to get in and out, no hour long waiting and he was happy to do the survey for me.
                                       Guest was referred by                  . Guest had blood work done at the doctor's office, but one of the tests needed was not covered by
2/16/2015           WAG3657   143084                       insurance. Guest did not have $170 for a test, so his doctor sent him here, where it only costs $34.
                                        First time guest. She said she didn't have insurance and was sent here by her doctor because of the prices. 2 to 1 CTN collection was
2/16/2015           WAG1272   143086                                   utilized, she was a great bleeder. There were no issues during the collection.
2/16/2015           WAG3049   143261           referred by her arthritis doctor, doesn't have insurance, senora quest was going to be 200.00, and today she spent 18.00

                                         First time guest to Theranos referred by his doctor. The guest stated that his doctor recommended Theranos because he is without
                                       insurance currently. He said the last time he went to a lab his bill was almost $800 so he was very surprised to se that this visit was only
                                         $50. He warned me that they always have trouble with his veins and he normally has to go to the hospital to get blood drawn. I was
2/16/2015           WAG4508   143265                               able to collect the specimens on the first stick and he said he didn't feel it at all



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                                         First time Guest referred by              . Our Guest said he has Insurance but decided just to pay cash as it would still be cheaper
                                        than with his Insurance. He thinks that Theranos is quite amazing he said and is so happy and impressed with the services, pricing and
                                        convenience that Theranos offers. He was sure he could not collect his UA so he is going to bring it back today or tomorrow. Check in
2/17/2015           WAG6582   143493                                         took 9 minutes due to finishing up with my previous Guest.

2/17/2015           WAG5776   143575        Guest was new to theranos. guest was appreciative that the prices were so affordable because he did not have any insurance.

                                       This couple came from Kingman AZ after hearing about our prices. Both husband and wife are without insurance and their labs usually
2/17/2015           WAG4620   143577                  run them around $500 dollars. They are so grateful that Theranos is around but wish we would head up north.
                                         The guest said she would love to thank Elizabeth for making it possible for her to be able to have her blood tested now because she
2/17/2015           WAG4507   143679                                       was not able to afford it without health insurance. No procedural issues.
                                       This is a first time visit for our guest who was referred to us by her doctor. A pharmacy customer was at the theranos check‐in terminal
                                        so I did a power perform. The guest was very grateful because she could not find parking so she parked illegally and needed to be at
2/17/2015           WAG4507   143690                                        work soon. Our guest does not have insurance. No procedural issues.

                                       Guest was referred by her doctor because she has a high deductible and our prices are affordable. She and I talked about insurance and
                                        healthcare costs during the visit after she told me that. No procedural issues. The computer froze in the middle of the visit however. I
2/18/2015           WAG3048   143858                          had to restart the computer..fortunately I had already drawn her blood so she was able to go.
                                        First time Guest referred by                        has Obama Care Insurance but just wanted to pay cash for today. He was glad to be
                                           able to come here for his labs being it was close to his home. He said last time he had lab work with Senora he received a bill for
2/18/2015           WAG6582   144027                                           $700.00. He was so relieved he only had to pay what he did.
2/19/2015           WAG1272   144360                  First time guest. Her doctor referred her here since she was self pay with no insurance. She loved the prices.
                                           New guest. referred by her physician. Was so glad we are here. She is without insurance and is grateful for the prices we offer. I
2/20/2015           WAG4620   144654                                            assisted with installing our application on her smart phone.
2/20/2015           WAG1272   144763                               First time guest. He was 4 years old and his mother said they don't have insurance.
                                       This was a first time guest, referred by his doctor. He was so excited to try us out, he recently lost his insurance and is self pay now, and
                                       we saved him a few hundred dollars he said compared to what Sonora Quest was going to charge him. The draw went perfectly, he said
                                       he didn't even feel the needle, and it was a bit of a longer procedure because of the urine collection. He said he is not technically savvy
2/20/2015           WAG3132   144772                                                  but he was happy to do the iPad survey for me.
                                       Guest was very pleased with how affordable prices are. He is going through chemo and does not have insurance. So getting a break with
2/20/2015           WAG5776   144836                                                          lab work prices helped him a lot.

                                       This was a first time guest, referred by her doctor. She is actually from New York and in town visiting her mother. She had some health
                                          issues so went to a doctor here, who then ordered her tests and referred her to us. She was really glad it was a quick process, and
                                       relieved that she had a free visit card. She's been having some issues with her health insurance and so currently she is self paying. She
                                        said she liked everything about her visit, she only wished the restroom was a bit closer, as she has some back problems and it's painful
                                         to walk very far. She had an excellent draw the procedure was a bit longer because there were several tubes to be drawn and then a
                                       urine collection. She had her mother with her, who was very excited to be here as well, just to see how we worked here. She said she's
                                       been curious about us because she saw an interview about a year ago with Elizabeth Holmes and thought the whole concept behind the
2/20/2015           WAG3132   144882                                                               company was great.
                                         New guest referred by his physician. He is without insurance and was amazed by our prices. He also commented on the fact that he
2/20/2015           WAG4620   144915                                               appreciated not having to wait endlessly to be seen.

                                        Guest has done stool kits before. Preferred to come to Theranos vs other lab=cheaper, more convenient. She has no insurance so this
2/20/2015           WAG3912   144964             she found was a great opportunity. Explained details for performing collection to Guest‐ she had no further questions
                                       First time guest. She said that this is the closest location to her. She loves the prices since she doesn't have insurance and has to pay out
2/21/2015           WAG1272   145007                                                    of pocket. She will be returning in the future.



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                                        First time Guest referred by East Valley Family Medical. Mary Grubb, NP. She was so happy to get her labs done here as she had no
                                       Health Insurance; However could only afford some not all of them at this time. She loved how convenient this was and asked how long
2/23/2015           WAG6582   145530                                                     our Lab has been inside Walgreens.
                                       First time Guest referred by                   . She did not have any Health Insurance so she was so happy to have been referred here
2/23/2015           WAG6582   145564                         to Theranos because she really needed these labs done as she hasn't been feeling well at all.
                                       New guest and visit went great. Guest said that she's coming here from now on instead of doing it at her doctor's office. She found out
2/24/2015           WAG3163   145935                                         about us by her doctor because she doesn't have insurance.

                                        This is a first time visit for our guest who was referred to us by a doctor in the emergency room. This was a power perform check‐in. In
                                        the perform room, I asked the guest how he heard about us and he said by a doctor in the emergency room. I believe I met this doctor
                                        at a previous time. I remember how excited he was about theranos and wanted to learn more about us so I sent his information to our
                                        sales rep. I also remember the doctor saying that he did not know how the hospital would feel about sending patients to us, he said he
                                       knows how expensive lab work is especially for patients without insurance and sending them to theranos would better ensure that they
2/24/2015           WAG4507   145971                                     are able to have blood work done at an affordable rate. No procedural issues.

                                       First time Guest referred by her                 . Guest does not have Health Insurance and when her Dr. told her she needed labs she
                                        said she wouldn't be able to do it because she couldn't afford it. Her Dr. then said, he had the perfect lab for her to go to and she was
                                          so happy because it was affordable. Our Guest was a difficult draw as she warned me. As a result, I could only fill up to half of the
                                           purple tube and then it stopped. Her only vein felt like a small bubble. She said she hasn't been drinking any water and she felt
2/25/2015           WAG6582   146216                      dehydrated as she had cracked lips. She was happy with her first visit here at Theranos this morning.
                                         Guest first time here, guest daughter is an OB/GYN for my doctor's office. Guest does not have insurance, found out we had the best
2/28/2015           WAG2851   147343                                                                 prices in town.
2/24/2015           WAG3657   145796                          Guest was referred by               Guest is uninsured and was very pleased with our prices.
2/24/2015           WAG3657   145791                    Return Guest. Guest loves our low prices. Guest lives in Buckeye and wishes there was a closer location.

                                        Guest stated the she tells all her friends about Theranos and our wonderful prices. Guest was just released from the hospital and had
2/24/2015           WAG5668   145837          bruising on arms and hands from IV's so BOT drew from R AC above all bruises and visible areas were an IV was inserted.

                                         Guest was referred by her doctor. She was very happy with the prices as she is a cash paying guest. What costs her 200‐500 dollars
2/25/2015           WAG3048   146221               somewhere else was less than 100 with us. She also liked the private room and our setup. No procedural issues.
                                       Guest really liked the PSC and the prices, said she is cash pay and Sonora's prices were rediculous. Guest was happy with her visit, no
2/25/2015           WAG4434   146473                                                                collection issues.
                                        Guest has been here before and tells her friends about us. She gets labs done twice a year to keep tabs on her health. Her insurance
                                       only covers the one time so our pricing makes it possible to do this. She feels if her mother had been able to get some blood tests that
                                         was not covered she would have not passed away so soon. She was a bit unhappy that it was not an f/s procedure like last time but
 3/2/2015           WAG3048   147870                                                             handled the draw well.
                                        First time guest with Theranos, referred by Doctor. Collection went great guest said I was very gentle and she love the price she paid
 3/2/2015           WAG1076   148011                                         with Theranos today because she does not have Insurance.

                                       This is a first time visit for our guest who was referred to us by the NP in the clinic in this Walgreens as well as by me. This was a power
                                         perform check‐in. He came in for refills on his medication about a month ago and was told he needed to have blood work done for
                                       more medicine. Our guest does not have insurance. He found a doctor and was told that he needs to have blood work done for a refill.
                                        His doctor gave him a Quest lab order, he had the prices listed on his lab order which totaled about $180. Our very happy and grateful
                                       guest had his blood drawn with us for about 80% of the price less! He was so happy! The guest had to wait in the line of about 7 people
 3/3/2015           WAG4507   148502                                                      to pay for his visit. No procedural issues.




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                                        First time guest. She normally goes to a different lab but she doesn't have insurance anymore so the doctor sent her here for the low
                                         prices since she now pays out of pocket. When she came into the PSC she was nervous about having the needle removed. Once the
                                       collection was finished and the needle was out she said it was painless. i checked both of her arms and decided to use the left arm. The
 3/4/2015           WAG1272   148594                                                    collection was successful with no issues.

                                         First time guest to Theranos. The guest was referred by her daughter. The guest is Spanish speaking only. The guest does not have
 3/4/2015           WAG5504   148678             insurance and was shocked and very impressed with the low prices Theranos offers. The guest was a happy customer.
                                         Guest was referred by her physician to come to Theranos because of her lack of insurance she could now afford the tests that were
 3/4/2015           WAG3789   148755                                                    being done. Guest left very satisfied.

                                       This was a first time guest, referred by her doctor. She was really excited by how much money she saved today, since she doesn't have
                                       insurance. She also was under the impression she was getting a finger stick and I informed her of course that we are working to get to
                                        where all tests are covered by a finger stick. She was ok with me having to do a venous draw, she just warned me that she was a hard
                                         stick and tends to have issues with people not being able to get her veins. Today though, there were no issues, I was able to find a
 3/4/2015           WAG3132   148788             suitable vein and get her procedure done very quickly. She was extremely grateful and was happy to do the survey.
                                        First time guest, he was referred by his Doctor. Procedure was quick and and painless, he decided to take his urine sample home. He
 3/4/2015           WAG1272   148867                              was glad about how affordable our prices were since he didn't have any insurance.
                                       Returning Guest, comes to Theranos because his insurance does not cover the frequent visits, he monitors his Prostate due to Prostate
 3/6/2015          WAG13596   149621                                                     Cancer that he is treating holistically"."

                                       Guest is visiting from Texas and went to Sonora Quest first. She is uninsured and was not able to afford what they quoted her. A friend
 3/7/2015           WAG3657   149767   who is a doctor told her to come here instead. She said that by coming here, she saved over $300. Guest hopes to see us in Texas soon.
                                       First time Guest referred by               . She was real happy the test was affordable as she had no Health Insurance. Also that she
 3/9/2015           WAG6582   150303                                   was in and out quickly being she had 3 kids under the age of 5 with her.

                                         This was the first visit to Theranos for the guest. He has a lot of medical costs between he and his wife and his insurance has a rather
                                         high deductable. Being able to see the cost of lab tests upfront and the significantly lower pricing brought him to visit us. The guest
                                          also informed me that he is tired of the pain usually associated with blood draws as his tolerance is low these days. He was pleased
                                       with the visit, liked that we use a butterfly needle and said that there was very little to no pain today. The guest was not feeling well so
 3/9/2015           WAG4793   150437   declined to do the ipad survey but was sent a patient summary via email. He wanted me to relay that he was very happy with the visit.
                                             First time Guest referred by                 . She was so surprised at how affordable her labs were today as she had no Health
                                        Insurance. She is looking forward to coming back in the future and will be telling all of her friends and family member's all about us.
3/10/2015           WAG6582   150761                                               She was happy that it's very close to her home as well.
                                           First time guest. her Doctor send her here since she has no insurance and can't afford other Labs. She said this location is the most
3/10/2015           WAG1272   150936                                               convenient for her. Procedure was quick and painless.
3/11/2015           WAG3657   151089                            Guest was referred by             . Guest does not have insurance and loves our low prices.
                                       First time guest to Theranos. The guest is self employed and cannot afford insurance. Her doctor referred her to Theranos and she was
3/11/2015           WAG5504   151226                                         amazed with the prices. The guest was very happy with the visit.

                                        First time guest, she came with her mother. She was referred by their Doctor since they have no insurance. Procedure was quick and
3/11/2015           WAG1272   151380                painless. No issues during collection.Initiated Power Perform due to long line at the counterAccession #151380
                                          This was a first time guest, referred by her doctor. She was thrilled by how much money we saved her because she doesn't have
                                       insurance. She was very interested in everything, wanting to watch the procedure, because she wants to go to school for something in
                                       the healthcare industry. I told her she should try phlebotomy and then come work for us. :) She had a little longer check in because of
                                       the guests before her and a longer procedure time because of the urine collection, but she seemed happy with everything and she was
3/12/2015           WAG3132   151468                                                          happy to do the survey for me.




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                                          This was a first time visit for our guest who was referred to us by his doctor, no insurance. This was a power perform check‐in. No
3/12/2015           WAG4507   151512                                                                procedural issues.
                                         This was a first time guest without insurance. She was so relieved at our pricing. She stated that they usually use her hands, but the
                                        right AC popped right up and said pick me, and I was able to quickly collect 2 tubes without incident. She was extremely happy about
3/13/2015           WAG3727   152222                                                                 the whole visit.

3/16/2015           WAG1272   152575      First time guest. Her doctor recommended that she come here because she didn't have insurance. No issues during the collection.

3/16/2015           WAG1272   152625           First time guest. the doctor sent them here because they are cash paying and don't have insurance. They loved the prices.
                                         First time Guest referred by                          Guest was cash pay because she is in between changing Insurance at the time.
                                           She was so happy it was so affordable. She also liked how we drew out of smaller tubes than most others. Check in time took 6
3/16/2015           WAG6582   152652                                                      minutes due to transcription delay.

3/16/2015           WAG1197   152793   Guest is from Safford, drove up here because its cheaper to come up here than to pay for it through the insurance company. No issues.
3/16/2015           WAG1272   152915                First time guest, procedure was quick and painless, she said her Doctor send her here since she had no insurance.
                                         This is a first time visit for our guest who said she read about theranos and watched Elizabeth speak on a video. Our guest does not
                                       have insurance and asked her doctor if she could come to theranos. In the perform room, the guest said she has been paying over $60
                                       for her labs versus the $18 she is paying today. She said when she heard Elizabeth speak, she wanted to become her friend. She was so
3/17/2015           WAG4507   153292                                                grateful and excited to be here. No procedural issues.
                                            The guest came to us on referral from immigration. He was happy with the visit and liked the low costs associated with labs at
                                            Theranos in case his insurance doesn't cover the cost of the visit. The draw went very well and very quick. The guest was very
3/17/2015           WAG4793   153306                                       impressed with the fact that is complete visit took less than 10 minutes.

3/17/2015           WAG3789   153354    New guest‐‐ Guest was referred by doctor for the lower prices because of lack of insurance. Guest was very pleased upon leaving PSC.
                                        Guest/collection went well. Guest was appreciative of the low cost of bloodwork‐as he does not have insurance. Priced other labs and
3/18/2015           WAG5668   153499                                                     decided to have work done with us.
                                             This patient is a new guest. She was referred by her physician. She is Spanish‐speaking but I know Spanish so it was easy to
                                         communicate with the guest. She liked that our prices are so low and she does not have insurance so it was fairly easy to pay out of
3/18/2015           WAG1197   153504                                                          pocket. All was successful.

                                          Guest first time here, referred by her doctor. Guest has no medical insurance, was very impressed with our prices. Guest has had a
3/18/2015           WAG2851   153591              mastectomy on her left arm, only had her right arm available. First poke was not successful, second was successful.
                                       First time guest, procedure was quick and painless. Check in took a while because they needed to verify some tests with her Doctor. She
3/18/2015           WAG1272   153746                                   was referred by he Doctor since she has no insurance. She loved our prices.
3/18/2015           WAG3657   153808                                    The guest was happy because of the price and she did not have insurance.

3/19/2015           WAG2851   153921   Guest first time here, referred by his doctor due to no medical insurance. Guest is very difficult draw, had to poke him 2 separate times.

                                       A First time guest with Theranos. She didn't konw about us until her doctor told her, and said she would be telling her co workers about
3/20/2015           WAG6177   154294                us because their insurance for work is not that great. She didn't know that we opened at 6 so she came in at 8.
                                        First time visit for Guest. She was very thankful for our prices. She was commenting on how her insurance is not as good as it used to
3/20/2015           WAG4793   154514                                                    be. So she was very glad for our pricing.

                                        This patient is a new guest. She was referred by her physician. She said she chose Theranos because she is currently uninsured and it
3/16/2015           WAG3727   152920     would have cost her $600 if she went with Sonora Quest. She was so delighted that our prices are so affordable. All was successful.
                                         First time Guest referred by              . She has no Insurance and was really happy that her Dr. told her about Theranos and it's
3/23/2015           WAG6582   155119                                          awesome services. She will look forward to coming back.



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3/23/2015           WAG5453   155217                                 This is a returning guest. Our guest does not have insurance. No Procedural issues.
                                         This guest is a new guest. She intially went to Sonora Quest and they told her that her insurance does not cover the b‐12 and that her
                                         out of pocket cost would be $250. She came here instead because the cost was only $20. She was very happy with our prices. All was
3/23/2015           WAG6060   155226                                                                       successful.
                                        This guest is new to Theranos. She recently lost her insurance so her doctor recommended her to us since we have such low prices. All
3/23/2015           WAG6060   155275                                                                    was successful.
                                           The guest is new to Theranos having been referred by his physician                His Dr. talked highly of Theranos and the guest was
                                       impressed that the Dr. referred him to us as opposed to having the in‐clinic phlebotomist draw his blood. The guest mentioned that his
                                         prior lab work for the same tests cost him 700 dollars and today it would cost him 37 dollars if insurance doesn't cover it. He said we
                                           definitely have a new customer in him. The draw went very well. The guest gets apprehensive when having his blood drawn and
                                        doesn't like it. I took time to explain the procedure and to show him the smaller tubes. He was surprised that by the time he got done
                                               explaining his dislike for it, I was done drawing his blood. Check in time was extended due to new patient information and
3/23/2015           WAG3727   155377                                                                     transcription.

3/23/2015           WAG1272   155411     First time guest, procedure was quick and painless. She was referred by her Doctor, she loved our prices since she had no insurance.
                                        This is a first time visit for our guest who was accompanied by a woman. This was a power perform check‐in. Our guest does not know
3/24/2015           WAG5453   155499                                              English and does not have insurance. No procedural issues.
                                       Guest was astonished with our prices especially because she did not have insurance. The draw went perfect, nothing to note. Guest was
3/24/2015           WAG4188   155596                                                           referred to us by:
                                       This is a first time visit for our guest who was accompanied by his mother, they do not have insurance. His mother has used theranos in
3/24/2015           WAG5453   155681                                                     the past. This was a power perform check‐in.

                                        First time guest referred by his doctor. The guest said the the other labs are just to expensive with his high deductible insurance which
3/28/2015           WAG4508   157461                is why the he recommended Theranos. The visit was processed with power perform. No issues during this visit
                                       First time Guest referred by             . She just moved here from Europe and has no Health Insurance so she was very happy it was so
3/27/2015          WAG6582    157026                    affordable. She did great during her 1 hr. Gtt. Check in time took 12 minutes due to transcription delay.
3/27/2015          WAG13596   157008                                      Guest referred by physician due to his very high insurance deductible.
                                        Guest read about Theranos in The New Yorker and came due to the pricing and her high insurance deductible. States this was the most
3/27/2015          WAG13596   156940                                                            efficient blood draw ever.

                                        First time guest, she was really happy about our prices since she has no insurance. I looked at both arms and she had really tiny veins, I
3/25/2015           WAG1272   156341                   opt for her hand and samples were collected successfully with no issues. She was referred by her Doctor.
                                       New guest was very excited to start using theranos. Her insurance increased deductable and is now too expensive for her and her family
3/25/2015          WAG13596   156263                                  to get labs done. She was also very excited about the accessibility to our app
                                       First time Guest referred by                  . Our Guest lives in Queen Creek but her Dr. didn't know we had a location out there, so she
                                          said next time she will go there being it's closer to her home. She was so happy with the pricing due to her being pregnant and not
3/25/2015           WAG6582   156176                                                                having any Insurance.
                                       Guest found us through an internet search. She is uninsured and was looking for the lowest prices. Guest was very happy to come here
3/30/2015           WAG3657   157825                                                                and save almost $300.
4/3/2015            WAG3657   159454                               Guest was referred by                   . Guest is uninsured and loves our low prices.
 4/3/2015           WAG3657   159498                         Guest was referred by                      . Guest loves our low prices because she is uninsured.

                                       Guest was referred by her doctor and was very happy with our prices as her insurance will not cover the tests she needs. She was very
3/30/2015           WAG3048   157610      impressed by what Theranos is doing for people and took some information to give to her husbands doctor. No procedural issues.
                                       First time guest with Theranos. He was surprised that we offer labs for such a low price, told me even with insurance Sonora quest still
3/30/2015           WAG4188   157686                                                      charges up to 900 out of pocket.




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                                       Power Perform, Accession Number 160174. A first time guest with Theranos. She did not have insurance so her doctor told her to come
 4/4/2015          WAG4188    160174                               here, because it would have totaled to be over 900 and only paid 74 with us.
 4/3/2015          WAG13596   159889             New guest didn't know about company until today. Physician sent him for low prices as he doesn't have insurance

                                       The guest is new to Theranos and was referred by her physician. She came in because of the pricing as she is a business owner without
                                       medical insurance. She is amazed at the difference in pricing from other labs and with the ease of the process. The visit went very well
 4/2/2015           WAG3727   159312                          and the guest was happy with the experience. She was also informed of the Theranos app.
                                        First time Guest referred by             . She was super happy that she could have her labs drawn for such a reasonable price being
                                       she had no Health Insurance. She had a friend with her and the friend asked if the Walgreens in Payson had a Theranos. She hope one
                                       day they will.Check in time took 7 minutes due to transcription and finishing up with previous Guest. She looks forward to coming back
 4/2/2015           WAG6582   159211                                                                 to Theranos.
                                       Guest referred by physician, was given a coupon card for today's visit but does not have insurance coverage and will continue to come
 4/2/2015          WAG13596   159038                                                     to Theranos due to the low pricing.

                                         This is returning guest without insurance. This was power perform check‐in. Transcription took long so I called CS. The guest said she
 4/1/2015           WAG4507   158751              told her husband about how painless my blood draws are because he does not have good veins. No procedural issues.
                                          Guest was a young boy about 11 who came in for blood work with his parents. he went somewhere else yesterday and they were
 4/1/2015           WAG3477   158589                     unsuccessful. parents do not have insurance so our out of pocket prices were exactly what they wanted.
                                          First time guest, she was referred by her Doctor. She said she calculated how much she would pay here and though it would be 80
                                            something but instead it was 50 something, so she was happy about that. She has no insurance, and was glad there's places like
 4/6/2015           WAG1272   160353                                                                        Theranos.
                                            First time guest he was referred by his Doctor, no issues with collection. He said he loved our affordable prices since he had no
 4/6/2015           WAG1272   160666                                                                        insurance.
                                        Guest was referred by her doctor. Her insurance will not cover the costs of the tests she needs and her doctor likes us because of our
 4/7/2015           WAG3048   160774                                                     prices and fast results. No procedural issues.
                                        First time Guest referred by                  . She came in with her baby so she was real happy it didn't take long and went smoothly. It
 4/7/2015           WAG6582   160851                                      was very convenient for her and affordable as she did not have Insurance.
                                       This is a first time guest who was referred by her physician. Guest is happy with how affordable the labs are, especially that she has no
 4/8/2015           WAG6177   161525                                     insurance. Guest was drawn o her left median cubital with a 21G butterfly.
                                        First time Guest referred by               . She said her Dr. sent her here because she has no Health Insurance. She was glad to be able
 4/9/2015           WAG6582   161635                       to get in and out and said it was fast. She looks forward to downloading our App. to view her results.
                                        The guest is new to Theranos having been referred by her physician. She is amazed at the low cost associated with tests at Theranos
                                       commenting that even if her insurance doesn't cover today's visit the total cost to her would be less than her co‐pay at other labs. She
                                         was happy with the quickness of the visit as well. I informed her of the Theranos app to give her more access to her lab results. The
 4/9/2015           WAG4793   161637                                                                  visit went very well.
                                       First time Guest referred by                 . Guest didn't have Health Insurance and was going to originally go to Lab Corp but came here
                                        once she found out it was cheaper. She said her veins were very hard to find and she was right. I had success on the 2nd try and she
 4/9/2015           WAG6582   161657                                              was happy as she said the minimum sticks is usually 3/4.
                                         Return guest. He said he liked coming here because of the great prices we have, as he pays for the testing due to his high deductible
                                       with his insurance. His draw went very well. He also had a urine collection. He chose to have survey sent to his email. He seemed pretty
 4/9/2015           WAG5266   161902                                                          happy with his visit with us today.
                                            Guest stated that he is a new customer. That he was referred to us by his doctor. Not having insurance can make healthcare so
 4/9/2015           WAG2771   161921                                             expensive. I was pleased to hear of your affordable pricing
4/10/2015           WAG3657   162237            Power Perform visit, accession # 162237. Return guest. Guest loves our low prices because she does not have insurance.
                                        Power PerformAccession # 162483Check in took 4 minutesFirst time guest, she was referred by her Doctor, procedure was quick and
4/10/2015           WAG1272   162483                                         painless. She had no insurance so she was happy about our prices.




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                                        First time guest, they were referred by their Doctor. Procedure was quick and painless she took a while to bring back her urine sample.
4/11/2015           WAG1272   162518                                                They loved our prices since they have no insurance.
4/12/2015           WAG3657   162797                                 great guest, loves that we aren't expensive because she doesn't have insurance.
                                       This was a first time guest, referred by her doctor. She said she was self paying so this saved her a lot of money. The last time she went
                                         to Labcorp she had to pay $1700. She was happy that everything was so easy today, fast to get checked in and fast in the procedure,
 4/8/2015           WAG3132   161366                                        and she said she lives just down the street so it was easy to get to.
                                       First time Guest referred by                   Guest came in because she had no Health Insurance. She was so happy it was so affordable
                                          for her as she really needed this done. She's going to tell her Grand parents about Theranos as well. She had a great visit and looks
4/13/2015           WAG6582   163068                                                             forward to coming back.
                                       First time guest. She said that her doctor recommended that she come here since she has a high deductable for insurance. She thought
                                          it was very convenient and came come here to have blood work and get medication if she needs to. This location is 2 minutes away
4/14/2015           WAG4434   163416                                                         from her home, which she loved.

                                       First time, guest procedure was quick and painless, no issues during collection. She said she would bring her husband here for now on.
4/14/2015           WAG5776   163616            She had a high deductible insurance and she said paying out of pocket not a bad idea with our super affordable prices.
                                       First time Guest referred by her Dr.'s office. She was so ecstatic that we were so affordable because she had no Health Insurance. She
                                       just couldn't believe it and so wished she could personally write Elizabeth Holmes a letter herself and thank her. She had a wonderful
4/14/2015           WAG6582   163684                             visit and couldn't thank me enough and looks forward to coming back for future labs.

                                        Power Perform visit. Guest has been here before and loves that we open early and easy to get to on her way to work. She was also very
                                         happy to hear how in a few months she will be able to order her own blood tests. I gave her a test menu and she was also very excited
4/15/2015           WAG3464   163736                                 that our prices are low because her husband has no insurance. No procedural issues.
                                        This is a first time visit for our guest who was referred to us by his doctor. This was a power perform check‐in. Our guest does not have
                                       insurance and is paying out of pocket. He was very happy with his visit. He said he usually gets stuck at least twice every time he has had
4/15/2015           WAG6177   163743                                                            lab work done. I had no issues.
4/15/2015           WAG4507   164062                                referred by the Dr. because her insurance doesnt cover some blood work, no problems

                                        This is a first time visit for our guest who was referred to us by her doctor. This was a power perform check‐in. The guest was not very
                                         talkative until the end of our visit when I mentioned that if her insurance decides not to cover her lab tests that her total bill will not
                                        amount anymore than $17.75. Once she heard that she began asking me questions about what other tests we offer and I referred her
4/17/2015           WAG4507   164774            to our test menu online. She was so happy and pleased and said she will definitely be coming back. No procedural issues.
                                       First time Guest referred by her Dr.'s office. She was so ecstatic that we were so affordable because she had no Health Insurance. She
                                        just couldn't believe it and so wished she could personally write Elizabeth Holmes a letter herself and thank her. She had a wonderful
4/14/2015           WAG6582   163684                                 visit and couldn't thank me enough and looks forward to coming back for future labs.
                                        Patient was thankful for low cost testing. She is self pay and wouldn't have been able to have her tests done for quite some time. All
4/13/2015           WAG3177   162988                                                                successful with draw.
                                         great guest, first time guest, her insurance hasn't kicked in at her new job yet and her doctor wanted her to go to sonora for labs she
                                       called them and wanted $400 she found us and says we are a breath of fresh air to be so cheap and not have to pay a huge amount for
4/19/2015           WAG3657   165353                                                                       healthcare.
                                       Guest said she went to Sonora first they wanted to charge her $300.00, she paid $60.00 here. Guest was extremely happy with the price
4/24/2015           WAG3048   167423                                                           and her visit. No collection issues.
                                         Guest read about Theranos, states she has a $2700.00 deductible and these tests would have cost over $300 at another lab but was
4/25/2015          WAG13596   167864                            only charged $45 for her visit today. Says she will promote Theranos to everyone she knows.
4/22/2015          WAG3657    166522                    Guest is an M.A. that heard about us through her work. Guest liked our low prices because she is uninsured.
                                        Power Perform 167833, great guest, return visitor, he normally goes to Mexico to get his blood work done because it is cheap and he
                                       can order whatever he wants done, he is so happy that he will soon be able to come to us to get his blood work done instead of having
4/25/2015           WAG5776   167833                                                                   to go to Mexico.



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                                       new guest was sent from her naturopathic physician because her insurance wont cover labs written from that doctor so she pays out of
4/20/2015           WAG4046   165535                                     pocket and we are affordable and she was able to get them done
                                       Return guests, CTN collected successfully, guest stated that her doctor loves us, and feels relief for sending their patients to us. Doctor
                                        works in an Urgent care with those that do not always have insurance, making it better to send to send patients to get lab work done
4/21/2015          WAG11610   166208                                                             because of the cost.

                                       This was a return guest, she's been here several times before and loves it. She said she used to go to Labcorp and couldn't believe how
                                         much her insurance was charged, plus even with an appointment she'd have to wait a long time to be seen, and she said everyone
                                       there seemed like they hated the world. She said she's had all good experiences here and loves all the staff she's seen, she is so used to
4/23/2015           WAG3132   167019                                 the drill she even asked me to do the survey, I hadn't even brought it up yet.
                                        Guest was referred by her doctor and very happy with our services. She does not have insurance and really appreciates our prices. She
                                           wanted me to say thank you so much for being available at the hours that you are and the prices that you have are amazing. No
4/24/2015           WAG3464   167262                                                              procedural issues.

4/21/2015           WAG3657   166149        The guest was very happy with theranos and he said that he will be more happy to have theranos in Flagstaff, where he lives.

                                       This was a first time guest, referred by her doctor. She was beyond thrilled at how much money she saved today, she said just from her
4/24/2015           WAG3132   167249              blood tests alone last year at Labcorp, she ended up getting into major debt and has been so stressed out about it.

                                        This was a return guest, here for the second time. She said she was amazed by our prices and didn't have insurance the last time, she
                                       had looked up prices thru the Sonora Quest website to compare them to our prices and they charged $150 for just one of the tests and
                                       with all of her tests combined here, which were five tests, we charged her $92. Plus, she said we are much more personable here and
                                        she likes the facility. Everything went great, check in was a little long because of this being done thru power perform, I had to get the
4/28/2015           WAG3132   178795                                 pharmacy tech to close out the visit, and the transcription took a little long too.

                                        First time Guest referred by                     When she heard about us she just couldn't believe it. Too good to be true she said. If
                                       she would've went to Senora which is where she was headed, she said it would've cost her $460.00. Today at Theranos, it cost $65.00.
                                       She said she couldn't wait to go home and tell her husband as he probably wouldn't believe her. She was so happy when she left. She's
4/28/2015           WAG6582   178884                                    going to school to be an RN and can't wait to spread the word she said.
                                        The guest is new to Theranos and was referred by his physician. He did not know about the existence of Theranos prior to his doctor
                                         informing him. He is very happy to be here as his labs previously have been over $400. The visit went fairly well although two sticks
4/28/2015           WAG6177   178911                                              were required. The guest was happy with the visit.

                                       The guest does not have insurance and he said that after research he found out about Theranos. He was surprised and very happy that
4/30/2015           WAG4508   179708       he saved over $100.00 by coming here to have a finger stick. He said he would recommend Theranos to everyone he knows. I

4/27/2015           WAG3657   178082   GUEST WAS REFERRED BY                        . GUEST CAME HERE BECAUSE SHE IS UNINSURED. SHE LOVED HOW LOW OUR PRICES ARE.

                                       Guest had just gotten out of the hospital and was VERY happy about just getting the finger stick done. He has had terrible experiences
4/27/2015           WAG2851   178493       getting his blood drawn and loved the simple and affordable prices since he was without insurance. left psc very very happy.

                                         New Guest. She was sent to us by her doctor today after they had drawn her blood. She said because she did not have insurance it
                                       would have been very expensive. Her veins were challenging she had bruising from where she had been drawn previously today. I could
4/27/2015           WAG4793   178461                          not feel anything on her other arm so I decided to use her hand vein. Draw was successful.
                                         First time guest, she was referred by her Doctor. She was so happy for places like Theranos since she has no insurance and can not
4/30/2015           WAG5776   179848                                  afford other places. Procedure was quick and painless. No issues to report.




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                                         Return guest, she said Theranos so convenient since she has no insurance and she has so do tests every two weeks. She was a little
 5/1/2015           WAG5776   180475     nervous it would be a venous draw today, she said she had bad experiences. She was glad it did not hurt. No issues with collection.

 5/2/2015           WAG4046   180649     new guest was referred by the doctor because she doesn't have insurance but needed to get these labs done and we are affordable

                                       This was a first time guest, referred by his doctor. He has his own business so with his high insurance deductible he mostly self pays for
                                           everything. He opted to self pay for his testing today and it saved him a lot of money. He was grateful for that because he says
                                        business has been a bit slow recently. He said this was convenient because he lives nearby and loved that he could just come inside
5/2/2015            WAG3132   180762                           Walgeens real quick for his tests. Everything went well with his procedure, nice and quick.
4/29/2015           WAG4508   179534                          The guest drives from Prescott to get her blood drawn here with us. No procedural problems.
                                          great guest, lives in Colorado he is down visiting and has to go back his doctor wants more blood work in June but we aren't up in
4/27/2015           WAG4620   178312                                   Colorado so he thinks he may have to drive back down because he likes us.

                                         Guest is a returning patient. He was happy to be getting a finger stick. He has very hard veins. Guest disclosed to me that he used to
                                        take drugs and that caused his veins to be very hard to get blood from. He was very thankful for our prices he said one time he looked
                                        up how much his cost would be with a competitor lab. And their price would have been about $700 whereas Theranos was only about
 5/5/2015           WAG4793   181659                         $70. I did collect two samples off one finger stick and then the third was off a different lance.
                                       This was a return guest, here for the second time. She was going to Labcorp but having to pay almost $200 every time, which was every
                                        3 months. She is so happy she found us. Today everything went well with her procedure and it was just a bit longer because she had a
                                       urine collection. She stayed after the procedure for a few minutes as well so I could help her get her app up and running on her phone.
 5/7/2015           WAG3132   182680                                                     She loved that we have this available.
                                        POWER PERFORM VISIT, ACCESSION # 181243. GUEST WAS REFERRED BY                              , BUT HAD HEARD ABOUT US FROM FRIENDS
                                          AND NEIGHBORS AS WELL. GUEST IS UNINSURED AND APPRECIATED THAT WE KEEP OUR PRICES LOW. HER SON WAS EXCITED TO
 5/4/2015           WAG3657   181243                                 LEARN ABOUT THE APP AND DOWNLOADED IT WHILE I WAS CHECKING HER IN.
                                          POWER PERFORM VISIT, ACCESSION # 181008. GUEST WAS REFERRED BY                               . GUEST WAS VERY PLEASED WITH OUR
 5/4/2015           WAG3657   181008                                       PRICES BECAUSE HER INSURANCE WON'T COVER ALL OF HER TESTS.

                                       Guest had read an article on Ms. Holmes and was really impressed. She was very excited about the price list as she is a cash payer. She
                                       also works with people who cannot afford medical care and need to be tested for a variety of things. She is very excited that they will
 5/6/2015           WAG3464   182112           be able to get their own tests in the near future. She was very appreciative of Theranos for making all of this possible.
                                       Guest was a first time, Guest, check is was with power perform. She was very happy that our prices were so low since she was paying
 5/7/2015           WAG4508   182747                                                     our of pocket. No procedural issues.

 5/7/2015          WAG13596   182960   new guest, drove an hour to come to Theranos. Can't believe how much easier and painless the FS is compared to the old fashion way
                                       This was a first time guest, referred by her doctor. She actually came down here from Sedona to get her tests done because she has a
                                        really high deductible insurance and so she said in the amount of money she would pay here and in the gas to get here, would still be
                                       significantly less money than it would be for her to go to Labcorp, where she's been going. She was actually excited to try us out and it
                                        gave her an excuse to get out of town for a day. She was happy to do the survey and she thanked me profusely for the quickness and
 5/8/2015           WAG3132   183377                                                   ease of everything. She said she loved it.

                                        Guest was referred by his Doctor, Guest was very pleased with services and his visit. he was happy that the blood draw was quick and
 5/7/2015           WAG3912   183070         painless and it was in one stick. He lives in Anthems and he likes the hours and he rather come to Theranos then Labcorp.




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                                        This was a first time guest, referred by her doctor. She said she loves how close we are to her house, it was very convenient to come
                                         here and so easy to get in and be seen, no waiting. She said she couldn't even feel the needle in her draw and was very grateful for
                                        that. Everything went well, she said she would definitely be coming back here. She was amazing at how much money she saved too.
5/11/2015           WAG3132   184237                      Normally has to pay $300 extra on top of what her insurance covers when she goes to Sonora Quest.

                                        First time Guest referred by               Guest was real excited to come into Theranos today as she didn't even know we were here.
                                       She had a coupon card to use to pay for her labs she was very grateful of as the total was $190.45. She has been having issues with her
                                       Thyroid and wt. gain so she figured she needed to be thoroughly checked out by a Naturopathic Dr.Guest just finished School as a Nurse
                                         Practitioner and plans on opening her own Business here in the future.I highly recommended to use us for her patient's lab work and
5/12/2015           WAG6582   184639                                      she said she most definitely will.She looks forward to coming back.

                                           First time Guest referred by                  She is a Guest here from Illinois and getting ready to head back. She said she seen
                                        Elizabeth on TV and was so very impressed she had to try us out. Was happy we drew small tubes opposed to the real big ones. She
                                       said her and her husband spend at least $1600.00 each on lab work alone. She is hoping to have a Theranos in Illinois some day. Until
5/12/2015           WAG6582   184887                  then, she looks forward to coming back to Arizona to visit us again. She had a great experience here today.
                                         First time Guest referred by              Guest was self pay and was almost in tears because she was able to afford this test for her
                                       Thyroid. She needed it done badly. She said they wanted close to $80.00 elsewhere and she just couldn't do it. She had a lovely visit
5/12/2015           WAG6582   185087                                        and I'm certain she will be back.This was a Power Perform Visit.
                                        Guest first time with Theranos. Guest liked the low prices, Guest said for all the test she was to get done today was going to cost her
5/15/2015           WAG6582   186492                             over $400.00. The guest said she paid just over $60.00 dollars today. Guest left happy.

                                         Power perform used. Guest was new to Theranos, referred by doctor. Venous draw was performed with out any issues. Guest was
5/12/2015           WAG5776   184625              happy to be informed of our low prices due to her husband not having insurance. Guest seemed pleased with visit.
                                       This guest is new to theranos. She was referred by her physician. She says she doesn't have health insurance, and she was so happy she
                                       can still get her labs done with our affordable prices. She had never had a finger stick before and she wanted me to warm up her finger
5/13/2015          WAG11182   185367                                              for a while. Draw was successful and guest left happy.
                                        Guest was referred by her doctor and was really happy with our prices as she does not have insurance. She was also happy that it was
5/13/2015           WAG3464   185293                                                       so quickly done. No procedural issues.
                                        First time guest, she said her insurance did not cover her test at other labs so her Doctor referred her to come. She said she loved our
5/13/2015           WAG4620   185360                                                                      prices.
                                       Guest referred by                    . Guest just found out about Theranos. She didn't have Insurance so was so happy it was affordable.
                                       She said she will be coming back here opposed to any other lab out there. Check in time was 10 minutes due to waiting for my previous
5/13/2015           WAG6582   185249                                                              Guest to return her UA.
                                          Guest was referred by his doctor and happy about the prices since he does not have insurance. He really likes what our company is
5/12/2015           WAG3464   184701                                             doing for him and the community. No procedural issues.
                                         First time guest, he was referred by his Doctor. He drove 45 minutes (WIckenburg) to see us because he has no insurance. No issues
5/11/2015           WAG4620   184566                                    with collection.Power PerformAccession #184566Check in took 9 minutes
                                        This guest is new to theranos. She was referred by her cardiologist. He told her to come to us because her Medicare was not going to
                                         cover the test at Sonora and it was going to be $150. She was excited that she was able to get it done here for a little over $20. Draw
5/19/2015           WAG3177   187867                                                                was quick and easy.

                                         This is a new guest. She was referred by her physician. She was so happy about us having set‐prices for our labs. She went to Sonora
                                        Quest before, and they sent her a bill of $1200 for two tests. She had no idea they were going to charge her that much. I gave her one
5/19/2015           WAG3177   188014                      of our test menus and she was so happy to see our affordable prices. All was successful with draw.




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                                         A first time guest with Theranos. He was only 3 years old so his grandma brought him in. He was the first child I did a finger stick on
                                       which was a little challenging because his hands were so small, but I was able to get it with no issues. He was very well behaved because
                                        he has been getting his finger stuck for a while and just got a shot earlier in the day. His Grandma just heard about us today when her
5/20/2015           WAG4188   188277                      doctor said their labs were going to be $160 but here it would only be $5 and also just a finger stick.
                                        As i was collecting sample she had asked me what's the difference between you guys and labcorp or sonora? Once i wrapped her up i
                                         showed her our pricing menu and she was AMAZED!. She informed me she has to get a estradiol test every month and labcorp and
                                       sonora charge her over $100.00 every time. so she loved that it was only $20 and change. I informed her that her doctor would receive
                                        her results within 24 to 48 hours and if she downloads the app she will receive her results the same time and keep them for her files.
5/20/2015           WAG3789   188390                                                She said ok she will be coming here from now on.

                                       Guest was an older gentleman. we talked for quite a bit during and after the draw. he was very adamant that i would not be able to get
                                       him in his arm. everyone tries and for years now they all end up in his hands (which were bruised quite a bit!) we talked of the $ he was
                                       saving with us. how his wife past of breast cancer and how insurance sky rocketed for him. He was amazed that i successfully stick his
                                        arm, there was no bruising and he barely felt anything. afterwards he got up to leave, hesitated for a sec and turned to me and asked
                                        for a hug! I obliged and it most certainly made my week. these test are for a surgery he is about to have with a Doc he finally found to
                                        help relieve the pain. You can just tell the man was going through it! I am glad I work for Theranos and the most simplest of things we
5/21/2015           WAG5504   188671                                                  do can change someone's whole world around!
                                        First time guest referred by her doctor. The check in was delayed because clarification about the doctor was needed. There were no
                                         issues with the procedure. The guest said that she normally goes to Sonora Quest but this particular Medicare hasn't covered in the
                                         past and she didn't want to get another $250 bill like she did last time. That same test in only $20 at Theranos. She said she wished
5/21/2015           WAG6128   188789                                                      she had heard about Theranos sooner

                                       This is a new guest. She was referred by her physician. She loves how affordable our prices are. She went to Sonora quest this morning
5/22/2015           WAG3177   189147      and they told her that Medicare would not cover the cost of the test and the total would be $200. All was successful with draw.

                                        First time guest. She was originally going to pay with insurance but then she remembered that the test only $15 and wanted to pay out
                                         of pocket because it was easier. I took her back to check in and they switched the payment over. She was really happy with the price
5/23/2015           WAG3048   189624                 and how good the service was. She said was going to come here now. The sample was collected with no issues.
                                         First time Guest referred by                 . Guest did not have Health Insurance and needed her blood type tested. She was elated
                                            she only had to pay $ 4.10. She couldn't believe it! She looks forward telling all her family and friends about Theranos and looks
5/23/2015           WAG6582   189648                                      forward to coming back for future labs.This was a Power Perform visit.
                                         This is a new guest. She was referred by her physician. She is really excited about our prices, and that they are very affordable for her
5/22/2015           WAG3008   189456                                             budget. All was successful with draw. 1 poke per 2 CTN.
                                           Returned Guest referred by                . He was in the area and thought it'd be a great time to come in for his lab work. He likes
                                       coming here because it's convenient and affordable although he had Insurance but didn't want to use it. He looks forward to getting his
5/23/2015           WAG6582   189543                                                                      results.
                                       guest is a returning visitor, she loves how affordable our tests are for someone who pays out of pocket. i did go on a vein hunt, she was
5/18/2015           WAG4188   187161                                                                   dehydrated.
5/18/2015           WAG3657   187374                                       The guest was happy for the prices, which are extremely affordable.

                                       Return guest. She likes coming here because she says its really convenient and affordable. She doesn't have to wait in long lines. There
5/19/2015           WAG3048   187869            were no issues during the collection. I had to make a slight adjustment but collected all the samples with no issues.

                                         This is a new guest. She was referred by her physician. She was so happy about us having set‐prices for our labs. She went to Sonora
                                        Quest before, and they sent her a bill of $1200 for two tests. She had no idea they were going to charge her that much. I gave her one
5/19/2015           WAG3177   188014                      of our test menus and she was so happy to see our affordable prices. All was successful with draw.



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                                           First time guest, she was referred by a friend of hers. She was self pad so she loved how affordable our prices are. No issues with
5/20/2015           WAG4620   188093                                                     collection. She said she did not feel a thing.
                                             first time. guest was referred to theranos because she does not have insurance and was told that theranos was would be very
5/18/2015           WAG5668   187134                          affordable for her. guest spoke very little English ( spoke mostly Spanish) no procedural issues
                                       First time Guest referred by San Tan Cardiovascular Center. He had never heard of Theranos before and thought it was great when his
                                       Dr. told him he could come here. Although he had Insurance, he just decided to self pay because it was so inexpensive. He thought the
5/19/2015           WAG6582   187582                                             finger stick was awesome.This was a Power Perform visit.
                                        A first time guest with Theranos. She came in with her Father who was the one checking her in because she was under his insurance.
5/20/2015           WAG4188   188183                        She did get light headed so I had her lay down till she felt better and was able to leave on her own.
                                         Returning guest referred by her doctor. She is without insurance and she says this makes it much more accessible for her. She also
                                          likes how quick she is able to get in and out. The was a small guest stack up situation while she waited for the previous visit to be
5/20/2015           WAG6128   188250                                                                      completed
                                       First time guest, no issues with collection. Really good bleeder. He was referred by his Doctor since he has no insurance and had to pay
5/20/2015           WAG4620   188400                                                                    out of pocket.
                                         First time guest to theranos. The guest could not find her insurance and tried calling for the group number but when i told her how
                                        much the cost was without insurance she went ahead and continued with out it. The guest was amazed at the price of her lab work.
5/20/2015           WAG5266   188450                                                        The guest was a very happy customer.
                                         great guest, found out about us from her doctors she has insurance but doesn't pay for blood work, so she loves that our prices are
                                       cheaper than the other labs but we do more in depth testing, and she loved the idea of the app because she is very techie and likes she
5/21/2015           WAG4620   188607                                                         can get them when the doctor does.
                                            GUEST WAS REFERRED BY                     . GUEST HAD ALREADY HAD BLOOD DRAWN AT THE DOCTOR'S OFFICE TODAY, BUT HER
5/21/2015           WAG3657   188609                                      INSURANCE WOULD NOT COVER ONE OF THE TESTS SO SHE CAME HERE.

                                        Guest visit went well without any complications. Guest had lost employment and insurance, guest was grateful that the lab costs were
5/22/2015           WAG6241   189387       so low in comparison to what guest had been paying at Sonora Quest. Guest plans to download the application to view results.
                                         Returned Guest referred by                 . He was in the area and thought it'd be a great time to come in for his lab work. He likes
                                       coming here because it's convenient and affordable although he had Insurance but didn't want to use it. He looks forward to getting his
5/23/2015           WAG6582   189543                                                                     results.
                                        Guest was a sweet man. not feeling well and his doc office wanted to charge him about $500 for tests that he got here for $85!! he is
5/26/2015           WAG5504   189983                                     ecstatic to say the least. and now he will get his prescription refilled.

                                        first time, guest loved that he was able to get his finger poked for his blood today because he said most of the time when he gets his
                                       blood drawn from his arm people have a hard time. guest was also amazed with how affordable the process was and said that last time
5/26/2015           WAG5668   190027                       he went to his doctor it cost him over 100$ for just two test. no procedural issues (power perform)
                                       The guest is new to Theranos and came to us after reading an article on the company in a magazine. The visit went well and the guest
5/26/2015           WAG3008   190266                    was very happy. She remarked that it was absolutely painless and that she saved around $300 dollars!

                                           As i was drawing her she was asking me about the pricing on glucose testing and i let her know and when i was done collecting
                                       specimens i gave her a price test menu and she was really happy telling me that she going to tell her doctor and everyone there about
                                        theranos and how cheap it is because she just paid $200 dollars for a glucose test. she could not believe it! I also informed her about
5/26/2015           WAG3789   190400                   her results and she too can obtain copies if she downloads the theranos app. she said ok she will do that
5/28/2015           WAG3657   191397                      The guest was very happy because of the prices, She just spent $600 for lab work payment at SQ.
                                       great guest, so happy we exist, she had to get blood drawn and went to her doctor and had it done there and then got a bill for $3,000
                                       and wasn't informed of it earlier so she is really happy we show our prices and we say that it wont be more than this if not covered by
5/29/2015           WAG4620   191938                            insurance. she also was very happy with how fast it was in and out in under 5 minutes.
                                       Return guest, collection was quick and painless. She has bad arthritis so I tried to be very gentle. She said she preferred to get FS over
5/26/2015           WAG4620   190203                        the traditional way since she had really small veins. She also mentioned not having insurance.



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                                        returning, although this Walgreens is a little far for the guest to drive to she doesn't mind because our prices are so affordable and she
5/26/2015           WAG5668   190368                                         does not have insurance. power perform. no procedural issues
                                       Return guest. He couldn't express how much he appreciates Theranos. He said that with out this service he wouldn't be able to afford to
                                       have lab work done when he really needs it. He doesn't have insurance and has been having issues with getting approved for insurance
                                             and even getting his medication. By being able to have his lab work done he is able to monitor his health regularly to make sue
                                          everything is fine without medicine. He couldn't stop thanking me for being here to help him.I collected the 2 gCTN off of the same
5/27/2015           WAG3132   190535                                                  finger stick. They were collected in 42 seconds.
                                          First time guest, she said she was happy there are places like Theranos for people like her with no insurance, or cant afford to go to
5/27/2015           WAG4620   190908                             other more expansive places. She was referred by her Doctor. No issues with collection.

                                          First time guest referred by her doctor. She was looking for a low cost alternative because she is currently without insurance and is
5/29/2015           WAG6128   191678              paying out of pocket. She told her that she couldn't afford to do lab work which is when he told her about Theranos.
                                        great guest, so happy we exist, she had to get blood drawn and went to her doctor and had it done there and then got a bill for $3,000
                                        and wasn't informed of it earlier so she is really happy we show our prices and we say that it wont be more than this if not covered by
5/29/2015           WAG4620   191938                              insurance. she also was very happy with how fast it was in and out in under 5 minutes.
5/29/2015           WAG4046   191596                       new guest was sent from her doctor because she is self pay and we are affordable and very convenient
                                         This is a first time guest who was referred by her physician. Guest was happy to know that we are very affordable compare to other
                                       labs. Guest also mentioned she will not be returning to Sonora Quest Lab. Guest was also glad to see the volume of blood needed is less
5/29/2015           WAG2771   191925                                                        than other competing laboratories.
                                       This was a return guest, here for the second time. He is still amazed by the prices and loves how much he saves so much that he comes
                                        down from Prescott to have his tests done. Everything went great and he was happy to do the survey for me, even though he's done it
 6/1/2015           WAG3132   192396                                                                      before.
                                         First time guest, she was referred by her Doctor, she had really tiny veins. Failed first attempt, only got a flash. Second attempt was
 6/1/2015           WAG4620   192657                                 successful. She was really glad about our low prices since she had no insurance.

                                         guest is a first time visitor, she loved our low prices since she pays out of pocket for lab testing. I welcomed her back and offered her
 6/1/2015           WAG1076   192751           water, as well as a test menu since she was so curious about our prices. i was able to draw all specimens off of her arm vein.
                                          return guest‐‐ guest is happy about our prices, for she pays out of pocket for her testing here. venous draw was completed with no
 6/1/2015           WAG2851   192917                                                      procedural issues. urine kit also collected
                                       The guest was happy for the procedure and the price. He went SQ and he was charged for $150 and after 4 days he was charged for the
 6/2/2015           WAG3657   193344                                                same test for $ 300. He was very happy with theranos.
                                       First time guest to theranos. The guest was referred by the doctor because theranos is the best choice. The guest was blown away with
 6/2/2015           WAG5266   193369                          the prices of the lab work. The guest was very grateful for theranos and will continue to come.

                                        The guest is new to Theranos and referred by his physician. The visit went very well and the guest was pleased with the visit. He was
                                       amazed at the cost of his lab tests and thought we may have made a mistake because of the low price. I informed him of the Theranos
 6/2/2015           WAG3008   193386                   app as well as gave him contact information for Customer Support to be able to verify a standing order.

 6/3/2015           WAG3464   193552        Guest was referred by her doctor. She appreciates the low prices since her insurance is not that good. No procedural issues.
                                       Guest came in for first time, procedure went really well, guest stated that it was convenient and much cheaper than other labs and that
 6/4/2015           WAG3477   194057                                        they were happy with our prices since they are cash pay guest.
                                       There were no problems with the procedure, everything went smoothly. This was the guests first time here and she absolutely loves it
 6/4/2015           WAG4793   194087                      because of the prices, she has no insurance so she was so very happy at the prices she was paying.
                                             Guest referred by his physician, states he has tests frequently and appreciates the prices her at Theranos which he notes as
 6/7/2015          WAG13596   195515                                                               substantially lower.




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                                            guest is a first time visitor, he was referred to us by his primary care doctor and loved our low prices and convenient locations. I
                                        welcomed him back and offered him water. he needed three tubes draw, but was under the impression it was suppose to be a needle
                                       stick. i explained to him our system and because of many tests needing to be done it was more beneficial to have a needle stick. he was
 6/5/2015           WAG6241   195110                             just fine after that and i performed a venus draw and collected all the specimens needed.
                                         Guest checked in at the pharmacy and was brought back to the wellness center. Collected 3 tubes with no issues. Guest was thrilled
 6/5/2015          WAG11610   195118                                              with the prices (he had no health insurance) and left happy.
                                               Guest referred by his physician, states he has tests frequently and appreciates the prices her at Theranos which he notes as
 6/7/2015          WAG13596   195515                                                                   substantially lower.
                                        First time Guest referred by                    . She was so excited to come here for labs as it was affordable for her. She said typically it
                                         would have cost her almost $200.00 for these tests today. She said people usually have a difficult time finding her veins but all went
 6/2/2015           WAG6582   193015                                        great and their were no problems.Loved her bottle of Theranos water.
                                        First time guest, no procedural issues. Midwestern student, stated referred by her school and happy she didn't have to 200$ for blood
 6/5/2015           WAG3048   195032                                                 testing needed for school. Informed of Theranos app.
                                       new guest, went to labcorp, labcorp told guest labs would cost $900, labcorp suggested guest come to Theranos, guest extremely happy
 6/4/2015           WAG5776   194534                                                                with Theranos low prices
                                           PP, no problems. Mother and daughter came from California for a day to visit there Dr. and he sent them here for labs because at
                                           Quest Diagnostics the labs were $2,400 (she showed me the print out of the cost!) and they paid $177.00 and $192.00. With there
                                       plane tickets, taxi and labs they spent a total of 300.00 they said. That isn't even half of what there labs would have been. They were so
 6/4/2015           WAG4507   194440                                                      thankful and love everything about Theranos
                                        Guest first time with Thernaos. Guest was happy with the low prices. Guest said he spends on average $400.00 on his blood work. The
 6/4/2015           WAG6582   194491                              guest only spent $25.00 today. Guest left happy, and willing to return to Theranos again.
                                       The guest was happy for the procedure and the price. He went SQ and he was charged for $150 and after 4 days he was charged for the
 6/2/2015           WAG3657   193344                                                same test for $ 300. He was very happy with theranos.
                                         Guest has heard about us before as she is in the medical field but her doctor also told her about us. Awhile back she had blood work
                                        done at LabCorp and the insurance paid $1000 but she was still responsible for $700. She will be coming to Theranos from now on. On
                                          the second tube the blood flow seemed to slow down but I adjusted the needle just a little bit and it started again. Other than that,
 6/4/2015           WAG3464   194115                                                                  there were no issues.
                                         This was a first time guest, referred by her doctor's office. She was self paying so they mentioned that she could come here and pay
                                       $23 as opposed to $99 at Sonora Quest. She was very happy by this and glad that she also didn't have to wait. She had a very busy day
                                       and was happy that she was in and out in no time. It was an easy draw and again, the iPad wasn't working so I couldn't have her do the
 6/4/2015           WAG3132   194385                                                                         survey.

                                       First time guest referred by his wife. This visit was processed using power perform. The check in was delayed during the transcription
                                        as well as being slowed by new guest info. No issues with the procedure. He said that his wife had such a positive experience that he
                                       had to check it out for himself. He also said that last year for the same tests that he had done today for just over $100 cost him $900 at
 6/8/2015           WAG6128   195604                                     lab corp. He was really impressed by how easy this whole process was

                                         first time, guest is self pay and was very happy with the cost of her visit today, guest said she had paid as much as 200$ just to have
 6/8/2015           WAG5668   195706             blood pressure medication checked. guest will be back in the future for all her blood work needs. no procedural issues
                                        This was a first time guest, referred by her doctor. She said that if she had these tests done in her doctor's office it would be $200 so
                                        this saved her money and she loved how easy it was to get in and out. She had a great procedure today and she seemed really happy
 6/9/2015           WAG3132   196279                                                                    with it all.




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                                         power perform 197470, great guest, they came to us because these tests at sonora cost over $600 so they like that we are cheaper.
                                       when doing the abn i clicked option 1 and guest signed but after the process was finished and the wag tech was handing me a hard copy
                                        i noticed that option 3 as clicked so i immediately called the support team to let them know what the issue was i spoke to Lauren she
                                          said that she will call me after she talks to some people and see if there is anything we can do. guest had bad experience at sonora
6/11/2015           WAG4620   197470                       where they hit a nerve in his arm and for 6 months he had a really bad twitch in his arm and hand.
                                       The guest switched her blood draw site to theranos because it very cheap and save her money. She used to go to Labcorp, where her co‐
6/13/2015           WAG6128   198638                                                             pay or change was $300
6/8/2015            WAG3789   195580                 Guest has been here before, procedure went really well, guest stated he likes the convenience and our prices.
6/8/2015            WAG3008   195840                      Return patient . Loves our prices since he pays cash. Left happy and will be back in about 4 months.

 6/8/2015           WAG4046   195853     new guest sent from her dermatologist because of the price difference between the two labs and they have a high deductable.21g
 6/8/2015           WAG3048   195940                   new guest, dr referred, self pay, guest loves our low prices, guest stated she will use Theranos again

 6/8/2015           WAG2851   195953   guest was new to theranos. she had no insurance so the prices worked for her. venous draw was completed with no procedural issues.
                                        The guest is new to Theranos and referred by his physician. The visit went very well and the guest was very pleased. He is amazed at
 6/8/2015           WAG3008   195955                               the technology and prices of the company and glad that he now knows about us.
                                        This is a new guest. She was referred by her physician. She said her doctor told her about us, and she loves how affordable our prices
                                         are. She couldn't believe how affordable it was for her to get lab work done. Draw was successful with one poke. Perform time was
 6/8/2015           WAG3727   195973                                                        longer due to urine collection.
 6/8/2015           WAG3657   196059                                                The guest liked theranos because of the prices.
                                       Guest was checked in via power perform with accession number 196085. Guest was new to Theranos and after asking her what brought
 6/8/2015           WAG1272   196085                                                       her in she said it was our prices.
                                        new guest, saw Elizabeth on TV. said that the prices are so reasonable and hopes we expand around CA soon. Also said he didnt feel a
 6/9/2015          WAG13596   196132                                                           thing with the finger stick
 6/9/2015          WAG5504    196197                 Guest loves our prices. Had large arms and hands where nothing was visible her veins were deep in her arm.

                                       First time Guest with Theranos, referred by Physician. Check in was long due to transcription delay, guest traveled from Casa Grande to
                                       come visit Theranos. Guest was saying how happy she was with the price she spent on labs because these are labs she has to have done
                                         very 2 months and we saved her so much money being that she did not have health insurance. guest had small veins used 23g needle
6/10/2015           WAG1076   196989                                   collection was a little slow but successful, guest said it was very painless.
                                        Power perform used. Return guest to theranos, referred by doctor. Guest was also a self pay and told tech that she liked the prices at
                                        theranos. Guest left hand was used for collection. Perform time greater than five minutes due to hand warmer. Tube was drawn with
6/10/2015           WAG5776   196990                                                                       no issues.
6/10/2015           WAG2771   197006                                Guest visit had no problems or issues. decided to use us due to our lower price.
                                         First time guest with Theranos, referred by Physician. Check in was long due to transcription delay, During collection guest was a very
                                         good bleeder Purple CTN was not wicking at first I tilted it a little and it begin to wick collection went great. Extended procedure time
                                        due to urine collection, Guest said his Physician Doctor Jensen Scott speaks highly of Theranos. Guest said he was very happy with the
6/10/2015          WAG1076    197136                                            price he paid today being that he did not have insurance.
6/10/2015          WAG13596   197166                                     Pt drove 3 hours to come to theranos because our prices are cheaper
6/10/2015          WAG13596   197190               The guest drove 3 hours to visit Theranos because of the prices due to previous lab experiences being so expensive.
                                        This is a new guest. She was referred by her Dr. but did read about us on last Sunday's news paper. She said that it is so awesome how
                                       we can keep our prices so low for guests. She says she has a really high deductible so it is such a benefit for her to still be able to get her
6/13/2015          WAG3177    198589                                                         lab work done, and stay healthy.
6/12/2015          WAG11182   198378                             Guest was a 1st time with Theranos they enjoyed the price and will be back to us soon.
                                         Guest first time with Theranos. Guest liked the short wait time and low prices. Guest was liked the fast painless procedure. Guest left
6/12/2015           WAG6582   198298                                                       happy.Guest was a power check in.



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                                              Guest was a return guest said she had been here before her doctor suggested her to come here because of the amazing prices.
6/12/2015           WAG5504   198173                                                             collection was successful no issues.
                                             Guest was checked in via power perform with accession number 198318. Guest really likes the affordable prices and convenient
6/12/2015           WAG1272   198318                                                                            location
                                           First time guest. Her doctor recommended that her and her husband come here because it is more affordable and he receives the
                                          results faster. She loved the prices and couldn't believe she could have blood work done at Walgreens now and its really convenient.
                                          She was unable to provide a urine sample here so I scanned it in as take home and she will be returning it tomorrow morning. There
6/13/2015           WAG1272   198396                                                            were no issues during the collection.
                                            This is a new guest. He was referred by his wife, who was referred by her physician. He said that the prices are so amazing, and so
6/13/2015           WAG3177   198609                             affordable. I told him about the app, gave him a water bottle, and CS business card. Great visit.
                                          This is a new guest. She was referred by her physician/husband. She said that she has to have lab work done every 3 months and SQ
                                           was charging 1,500 for her tests. She said there was no way she could afford it. Her physician told her about us and she was so glad
                                         because of our affordable prices. She says she used to live in Europe, were healthcare is virtually free, and when she came to the U.S.
                                       she was just shock at the prices to receive healthcare here. She said Theranos reminds her of home, were someone actually cares about
6/11/2015           WAG3177   197447                                                               your health as much as you do..
                                           Guests first time with Theranos, referred by                     . Check in was delayed due to new guest information and transcription of
6/16/2015           WAG3727   199401   labs. Guest does not have labs drawn often, last time had a $1700 bill and 16 tubes drawn. Guest was glad that he was seen so quickly,
                                                                                             found location convenient and affordable.
                                       This was a first time guest, referred by his doctor. He was really glad that he found us, he said it was so convenient and couldn't believe
6/16/2015           WAG3132   199444     the prices, that he was going to pay less than $80 for all of his tests today, which there were several. . His draw was great and he was
                                                                                   happy to hear about the app that he could download as well.
                                         Guests first time with Theranos, referred by                        .Guest does not get labs drawn often, last time she received a bill for over
6/18/2015           WAG3727   200563     $2000.. Guest asked about pronunciation for Theranos, really liked the idea of blending therapy and diagnosis. Sent visit summary via
                                                                                                        text message to guest.
                                        Guest was a first time Guest, she was very excited abut the very low cost of her labs today, had she gone to Sonora it would have been
6/18/2015           WAG3477   200737      $127 but today with us she only spent a little over $16. We are also only 5 min from her house so it was very convenient for her. No
                                                                                                          procedural issues.
                                             First time guest referred by her doctor. The guest said that she is currently without insurance and is trying to take care of all the
                                         prenatal care that she needs. She said that her doctor's office has a lab but when she heard the out of pocket cost would be $900 she
6/18/2015           WAG6128   200922
                                             asked if there was an alternative and that when the recommended Theranos. Her out of pocket cost here was $56. That's a big
                                                                                                               difference
                                        This is a new guest. She was referred by her physician. She says that she went to SQL and had 2 two tests done that costs her $900 and
6/20/2015           WAG3727   201939    is still sitting in her credit. She say that she is so glad we are here to help people that do not have insurance. She has a great vein in her
                                                                                                      right median. Great visit.
6/15/2015           WAG4620   199218   First time guest, drove in from Wickenburg,Az to have his blood drawn. Very happy with our prices and how affordable they are for him.
                                         Patient referred by her doctor when she complained about high lab prices through his office. All successful with draw and happy
6/16/2015           WAG3177   199421
                                                                                                        customer.
                                          Guest has visited theranos.Guest likes how affordable prices are and now he can actually be tested without worrying about the
6/16/2015           WAG1272   199683
                                                                                         hundreds he would pay at any other lab.
6/16/2015           WAG5776   199707                     convenient, likes low prices because insurance wont cover more than one test per year. Like the FS
                                       New guest and visit went great. PP was performed because WAG staff was crazy busy. Loves the prices and thought it was going to cost
6/17/2015           WAG3163   200032
                                                                                          here 2‐3x the amount she paid today.
6/18/2015           WAG5776   200615                       1st time visit, like are prices and choose to pay cash instead of going to labcorp and insurance
                                       Guest was new to theranos, referred by doctor. Guest had visited a CVS minute clinic and was pleased with their service so the doctor
6/18/2015           WAG3464   201038
                                                                told him to come here and try out theranos because the prices were very affordable.
6/19/2015           WAG3657   201172                RETURN GUEST. GUEST LOVES HOW SHORT THE WAIT IS. SHE IS UNINSURED AND LOVES OUT LOW PRICES.



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6/19/2015           WAG3657   201176                                    RETURN GUEST. GUEST IS UNINSURED AND LOVES OUR LOW PRICES.
                                        A first time guest with Theranos. She usually goes to Sonora quest, but it is to far of a drive for her because her and her husband have
6/20/2015           WAG4188   201835
                                                                      only one car. She will be coming to us for now on after seeing the prices. .
                                       This is a new guest. She was referred by her physician. She said her doctor told her so many great things about us. She couldn't believe
6/15/2015           WAG3727   199168
                                        how affordable we are. She was so happy at how short the visit was and couldn't believe how easy it was to have her blood drawn.
                                         This is a new guest. . He said he really likes us because we are so affordable. He said these tests at SQL would have cost hundreds of
6/16/2015           WAG3727   199942
                                                                                                          dollars.
                                       Guest came in for first time, she was really happy with our services and stated it was very convenient and she will definitely start using
6/17/2015           WAG3789   200014
                                          us, she found it affordable since she has a high deductible health plan. Procedure went really well and power perform was used.
                                        return guest had additional testing that he needed done he took his lab form to lab express first and all of the tests were $1300 and he
6/23/2015           WAG4046   202826    was not happy with that so he was trying to talk to his doctor and figure out what tests he could go without when he decided to come
                                                                                          here an see how much ours would be
                                        First time guest Referred by his doctor after realizing that one of the tests ordered is no currently covered by medicare and the cost of
6/23/2015           WAG6128   202900   that single test at Sonora Quest is $247. That same test at Theranos is $24. He was impressed at the convenience and the affordability
                                                                               of the service and said he would be coming back for sure.
                                        Guest found us on the web and has previously paid $600 for the same tests that were no more than 100 with us. She said thank you so
6/23/2015           WAG3464   203024
                                                                                               much. No procedural issues.
                                        Theguest was happy because theranos is very cheap than Sonora Quest. At Sonora Q.the guest said one test is more than $100. I liked
6/24/2015           WAG3657   203704
                                                                                                         theranos.
                                        Guest was from Central Africa, where it rains a lot and is neither hot nor cold. He says AZ is the opposite. it is very hot and never rains!
                                       He said he has never had blood drawn before. I was happy to give hi his first experience. he was nervous in the beginning but seemed to
6/24/2015           WAG5504   203278
                                         be happy with us overall. and he was especially happy to know he did not have to pay since his Doc gave him one of our gift cards for
                                                                             $100. he was surprised and confused that it was free this time.
                                       Guest said her insurance would only cover some of the test she would have to pay out of pocket for the rest. Guest called around to get
6/24/2015           WAG3048   203308     a price was told over $500.00, she paid $30.00 here. Guest was extremely happy with the price and service said she was going to tell
                                                                               everyone she could about Theranos. No collection issues.
                                       Patient is a return guest at this location. All successful with draw. She has been on a $3000 per month antibiotic and in and out of the
6/24/2015           WAG3177   203325
                                                   hospital battling a MRSA infection. She said Theranos lab testing prices are a Godsend. All successful with draw.

                                       Guest came in for a pregnancy screening. She said that the labs usually cost her $750 and here it was only $10.50. She was thrilled with
6/26/2015           WAG4046   204864   the ease and affordability and was excited to tell all of her friends about Theranos. I explained that direct testing would be available on
                                                           July 3, and she was even more ecstatic about the ability to take control of her own healthcare.
                                          Guest was a very sweet older man that was just happy to be alive. he has had 2 aneurisms and a stint now placed in his heart! his
                                           Naturopathic Doc sent him to us for the simple fact of saving $. I informed him of the July 3rd opening of our no Docs requisites
6/25/2015           WAG5504   203813
                                        required and he thought that was awesome, he even came back to get a form but i told him to look online since we have not received
                                                                                                      them yet.
                                          Guest has been here with her son but has not gotten blood work for herself. She said she found out about us by her aunt and how
                                         inexpensive our test are her aunt has pay only 40 dollars for a test they charge 200$ at another lab.She came in expecting to pay 40
                                         dollars as well but she only pay 25$ on today visit which help her a lot economically. When she found out about us that's when she
6/24/2015           WAG1272   203364
                                        decided to go look for a doctor since she haven't seen one in years, she know doctors always ask for blood work and sometimes blood
                                            work costs more than a doctor visit and that's what was holding her back to see one but now with this amazing lab which has
                                                                       reasonable prices and nice guest services she will spread the word on us.




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                                       Patient is a return guest at this location. All successful with draw. She has been on a $3000 per month antibiotic and in and out of the
6/24/2015           WAG3177   203325
                                                   hospital battling a MRSA infection. She said Theranos lab testing prices are a Godsend. All successful with draw.
                                         Guests first time with Theranos, referred by           . Guest found lab very affordable, instead of paying $180 for similar labs only
6/25/2015           WAG3727   203774
                                                                   charged $9.21 to insurance. Guest is not a fan of lab draws but has them regularly.
                                        She had a price quote print out from SQL and it came up to $384 for all of her labs. She was so happy that we only cost her $50 after
6/29/2015           WAG5453   205392
                                                            her labs were done our guest started crying and saying how happy she was that we are around.
                                       New guest and visit went great. Guest came here for our prices. She was amazed that for 4 tests it was only $61 here but for just one of
6/29/2015           WAG3163   205725
                                                                                          her tests, it was $150 at Lab Corp.
                                       First time guest, she was referred by her Doctor. She said she went to Sonora Quest and then came here because her insurance did not
                                          cover for one of her tests which was $300.00, she said she was impressed n how affordadable our prices are and how we are really
6/30/2015           WAG5776   206318   close to her house. She said she would come to us for now on. She came in with multiple sticks from SQ and was happy when I found a
                                        vein right away and got it first attempt.Power PerformAccession #206318Check in took a while because they needed to ask guest her
                                                                                                   Doctor's location.
                                       First time guest, was very happy with the service. She said if she had to go to Sonora Quest she would be paying $100 plus for the tests
6/30/2015           WAG2851   206412
                                                  she needed. Today it was less than $70 and this made her very pleased to use Theranos. No issues with procedure.
                                       Guest was tell us that for her to get tested for lab work at other lads she was looking at a $300 visit and she had no insurances or means
6/30/2015           WAG3049   206460     to pay for something that much. She was so relieved she only had to pay $8 here. Her mother was so happy and said they would be
                                                                                           back to be apart of the direct testing.
                                         first time, guest and spent the visit talking about her current health situation, guest said she spend more 650$ last fall in medical bills
                                        because he doctor could find out what was going on with her health, once she changed doctors after a year of no answers she lost her
                                       job and had to stop her seeking medical help because she didn't have the money for out of pocket doctor visits. once the guest got back
6/30/2015           WAG5668   206517
                                        on her feet and got insurance again she saw a new doctor that explained to her that he thinks she had a very rare condition but he did
                                            not think she could afford the test so he never ordered them. Today i told the guest about direct testing, and suggested she take
                                                                    advantage of it and look for a doctor that is able to help her. no procedural issues
                                          Guest wanted to have only the labs necessary for diabetes collected, had her ask her physician which labs that would be, ended up
                                        deciding to run all lab ordered instead. Had doubts initially because of financial issues, would be using insurance to pay, $77 beat $300
                                       at another lab without insurance. Will be referring us to her friends, very glad she saw the pop up add online for Theranos when looking
 7/1/2015           WAG3727   206589
                                          up other labs to go to in town. Guest did very well with collection, was expecting finger stick, but has no issues with venous draws.
                                       Guest had just urinated, decided to drink some water and walk around the store before attempting to urinate again. Sent visit summary
                                                                                                     via text message.
                                          The guest is new to Theranos and was referred by his wife and son. The visit was entered as a power perform with greatly delayed
                                       check in due to the WAG staff being busy and short staffed. The guest said that he is so pleased to see that Theranos has affordable lab
                                       testing. He has gone to Sonora Quest and been charged hundreds of dollars for his tests. He also had the experience of having his blood
 7/1/2015           WAG1197   206595    drawn by the in‐office phlebotomist at his doctors office. He liked the convenience of it but then received a bill for $1,000 for the cost
                                        of his labs. The bill included a $700 charge for the phlebotomy services and an additional $300 for the lab tests and that had been sent
                                       to Sonora Quest anyway. He was not given any forewarning that having his labs done at the doctors office would result in such charges.
                                                                                He said that he will always be using Theranos from now on.
                                       First time guest, he was referred by his school so he could start doing clinicals, he said his friend did the same test at another lab and he
 7/1/2015           WAG5776   206941
                                                                 had to pay $150 and he only had to pay about 9 bucks here. No issues with collection.




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                                            Guests first time with Theranos, referred by               . Check in was done via power perform, app was running a little slow,
                                         transcription was dealyed as well. Guest signed ABF but signature froze, went back on dashboard then had guest sign again, process
                                          went quicker second time around. Guest has had issues with Sonora quest (too expensive), found add online and decided to come
 7/2/2015           WAG3727   207122
                                       check us out, Medicare will be happy to see a bill for $40 instead of $500. Guest did very well with draw, although she did not have the
                                       best veins, used her right cephalic vein. Guest did not want her receipt, technician was busy in pharmacy which delayed her in finishing
                                                                                                         the visit.
                                       Guest was referred by her doctor. She was happy that it was a f/s and inexpensive. She said that the test would cost around $60 at the
 7/2/2015           WAG3464   207315
                                                                                             doctor's office but only 3 here.
                                         Guest was a first time Guest, she was referred by her doctor due to the cost she was paying at the competitor lab services. She was
 7/2/2015           WAG3477   207416   paying $250 for previous lab work and that was what was not covered by insurance, here she only spent $40 and was the main reason
                                                                    she sought our services out, because of our affordability. No procedural issues.
                                          Guest was referred to Theranos by Doctor, the guest had labs drawn at Sonora Quest but was unable to have one test covered by
                                        insurance. The guest thought that they would have to go without having the test done because they could not afford the $300 cost so
 7/2/2015           WAG3177   207470
                                        they were very happy to hear about the affordable cost of Theranos. The guest left happy with the visit and took a test menu to order
                                                                                   future labs when Direct Access becomes available.
                                          Guest has come to Theranos twice before and was very happy with both experiences. Referred by physician to come to Theranos.
 7/2/2015          WAG13596   207532
                                                          Stated that elsewhere her testing would $400 and Theranos only charged her $40 for the same tests.
                                       Direct testing Guest wanted to check her WBC count. She was so happy that she didn't have to mess with going to the Dr. just to get a
 7/4/2015           WAG6582   208167
                                                    order for her test. More so, was happy she only had to pay $4.75. She is looking forward to getting her result.
6/29/2015           WAG3657   205762                                 The guest liked theranos because it is very cheap and affordable.
                                       THE GUEST WAS REFERRED BY HIS PHYSICIAN, HE HAS NO INSURANCE AND SAID IT WAS VERY AFFORDABLE TO COME TO OUR LAB, NO
6/30/2015           WAG4434   206249
                                                                                         PROCEDURAL PROBLEMS.
6/30/2015           WAG5266   206264     First time guest. The guest was very impressed with the prices and how affordable it was for her. The guest was a happy customer.
                                             First time visit to Theranos, guest was referred by          . Convenient to home, very friendly and cooperative. Guest liked the
 7/1/2015           WAG5222   207057
                                                                 affordable prices and the fast, easy service. No issues to report, guest was happy with visit.
                                       First time Guest referred by                   . Guest has no Health Insurance and her Dr. told her Theranos was the best place to go. She
                                       was so excited as she was able to afford getting this done as she's been unable for so long. Once she came in to the Perform Room and
 7/6/2015           WAG6582   208347    I explained Direct Testing to her, she was even more excited as she just had to pay her Dr. $82.00 for her recent visit just to get her lab
                                         order.You could only use the Guest's left arm. . Guest understood and left very happy and is looking forward to her results from our
                                                                                                              App.
                                       First time guest with Theranos, referred by Physician. Guest traveled from Globe Arizona to have labs done here at Theranos. Collection
                                        went great no issues. Guest said she was happy her Doctor referred her to Theranos because for the Labs she had done here she only
 7/6/2015           WAG1076   208808      paid $150.00 out of pocket verse another lab wanted to charge her $1800.00 she was just happy to save money and get all her labs
                                       done at once. Guest did not know there was a Theranos Wellness Center a little closer than traveling to San Tan Valley so I inform guest
                                                          for future labs to visit our wellness center in Apache Junction she said that is a lot closer then here.
                                         GUEST REFERRED BY            . GUEST MENTIONED HE USUALLY PAYS $100 AT OTHER LABS FOR THE SAME TESTS, TODAY HE PAID
 7/7/2015           WAG3049   208965
                                                                                                     $28.03.
                                       The guest was very happy with theranos because of the prices. The guest used to go to LabCorp and she stated that just for Insulin test
 7/7/2015           WAG3657   209254
                                                                        LabCorp charge $30 and and theranos only $7.89 for the same test.
                                       First time using DT. He had several questions regarding a standing order vs DT. After explaining everything he felt comfortable with the
 7/7/2015           WAG4620   209407
                                           information. He stated several times that he will not pay $27 at the physicians office when he can come here and pay under $3.




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                                       A first time guest with Theranos. He was referred here by his doctor, He came here because of the prices and his insurance never covers
 7/8/2015           WAG4188   209564   all of his testing and still pays around $200 every time he gets labs done. He was very happy when he found out the most he would pay
                                                                                     is $40.Power Perform Accession Number 209564
                                        The guest is new to Theranos and was self referred. She has gotten these same labs done previously at one of the other labs and paid
                                       $1000 dollars. She was shocked that the same tests are under $60 dollars at Theranos. She said that she has read about Elizabeth and is
 7/8/2015           WAG3727   209753
                                        quite amazed at all she has accomplished. The visit went very well today and the guest was happy with the visit and how easy it was.
                                                                                       She said that she will be using Theranos again.
 7/9/2015           WAG3657   210545                              MA at the doctor office was happy to know her blood type just less than $5 at theranos.
                                         This was a first time guest. She found us on the internet when she googled best prices for labwork. She lives in Prescott Valley and
                                       drove down here to try us out because we were able to save her so much money. She was practically in tears when she found out that
 7/9/2015           WAG3912   210559   one test she's been paying $500 for for years was only $8 here. She said she's still trying to pay off debt from past blood work and she
                                        would rather drive down here every time knowing how much money she would be able to save than go elsewhere and pay so much
                                           money. She was pleased with her experience, saying she didn't even feel the needle, and she was very happy to do the survey.

                                       This guest was referred by her doctor's office. Her doc initially sent her to SQL to have her 3 hour glucose done, but they were going to
                                       charge her $257 and she told me there was no way she could afford it. So, she decided not to get the test done. She said her doc office
7/11/2015           WAG3727   211413    called her and asked her why she had not done the test. She told them she couldn't afford it and would not be doing the test. That's
                                          when they told her about us. She said she was so happy to hear how affordable it would be for her. There was no issues with the
                                                                        collection(s). Guest was happy & thanked me at the end of the visit.
                                         GUEST WAS REFERRED BY                    . GUEST WAS AMAZED BY OUR LOW PRICES. HE PAID $137.50 AT LABCORP LAST TIME AND
7/11/2015           WAG3657   211590
                                                         GOT THE EXACT SAME TEST HERE FOR ONLY $3.17. HE WILL DEFINITELY COME HERE FROM NOW ON.
                                       This was guest first time at theranos and was referred by his doctor. Guest was happy to know that he was able to get his lab work done
7/12/2015           WAG1272   211704   near his home. He also mentioned that he thought he was going to spend much more money on his labs but was happy and surprised to
                                                                            have paid less than $100 on his lab work. There were no issues.
 7/6/2015           WAG4046   208321   new guest was sent to us from her doctor because of the amount of tests she needed ran and the were way to pricey at the other labs
 7/6/2015           WAG3177   208325                                   All successful with draw. Patient amazed at low prices and quick service.
                                       Direct Testing. Returning guest came to the PSC where I directed him to transfer desired tests onto our DT form. He loves our company
                                        and had read about it in California. The guest finished checking into the pharmacy then came back to the PSC where a 2 tube venous
 7/6/2015           WAG3163   208371
                                       draw was successfully taken through the left AC with a 21 gauge butterfly. The guest was very pleasant and thankful for our prices and
                                                                                                       services.
 7/6/2015           WAG5504   208532             Guest was sent by Doc since he doesn't have insurance and he says Senora Quest is getting ridiculous with their prices!
                                         First time to theranos. The guest was referred by urgent care physician because of Theranos prices are much more affordable then
                                       theirs. The guest is cash pay and really appreciated the doctor referring him to theranos. The guest just lost his insurance and had an
 7/6/2015           WAG5266   208723
                                       emergency incident that he was not counting on. Coming to theranos was a life saver for the guest. The guest was very happy with the
                                                                                                          visit.
                                          Guest was new to Theranos. She loved how convenient we are as far as locations. She was thankful for being seen right away, she
 7/6/2015           WAG1272   208908
                                                  mentioned about being glad not having to go to Sonora Quest because of their expensive prices and long waits.
                                        Guest came in before, procedure went really well, guest had high deductible insurance so direct testing helped him out with our low
 7/7/2015           WAG3789   209085
                                                                                                        prices
                                       Power perform. Guest was referred by her doctor. She was pleased that our prices are so reasonable since she doesn't have insurance.
 7/7/2015           WAG4507   209125
                                                                           She had a great vein on her left arm. No issues with collection.
                                       First time guest. She heard about us from the Dr. at an urgent care. Guest was excited to hear about Direct testing because she has no
 7/9/2015           WAG3657   210313
                                                                              insurance, and was happy to see how low the prices are.




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                                       Guest states she found Theranos because she is uninsured and this is the only affordable lab she could find. After completion of venous
 7/7/2015          WAG13596   209229
                                                                                  draw she said thank you, that was awesome.
                                         POWER PERFORM VISIT, ACCESSION # 211415. DIRECT TESTING. GUEST IS UNINSURED AND LOVES THAT SHE CAN SAVE TIME AND
7/11/2015           WAG3657   211415
                                                     MONEY BY DOING HER LAB TESTS BEFORE GOING TO SEE HER DOCTOR. SHE LIKED THAT WE ARE SO QUICK.
                                       Guest was a first time Guest, she had discovered our services through the Media and came in last week asking about direct testing. She
                                       was a direct testing Guest, and is in between Doctors so is was very convenient and met her needs being able to come in pick what tests
7/13/2015           WAG3477   211883
                                        she would have done and then be able to see her new doctor with her results in hand to go over them. This way she could save $130
                                       on just doctor visits alone, being able to already have test results. She was very pleased with the Direct Testing. No procedural issues.
                                        new guest sent from her doctor because she needs her medication but doesn't have health insurance to be able to afford the $270 to
7/13/2015           WAG4046   211969
                                                                                                 get her labs done at Sonora
                                        This Guest was a first time Guest, she was very happy to have found our services because of affordability, she has a health insurance
7/13/2015           WAG3477   212045   that does not kick for another month, our services saved her about $120. She was very happy with her visit and that the results would
                                                                                     be available in 24‐48 hours. No procedural issues.
                                       First time Guest referred by               . Guest does not have Health Insurance and really needed his labs done due to his Diagnosis.He
                                         was just ecstatically happy he only had to pay $46.80. He always used to go to Senora Quest and said the price quote they gave him
7/13/2015           WAG6582   212337
                                       over the phone was just over $400.00. He had a great visit and will be coming here to Theranos from now on he said.This was a Power
                                                                                                         Perform visit.
                                         Guest was here for her second visit. She likes how convenient Theranos is since they are able to take her insurance, because at the
                                            other lab where she used to get the same lab work done she always had to pay $25 to get the test done. Now she can come to
7/13/2015           WAG3048   212464
                                       Theranos and not pay a cent. Only difference is that she now has to get a venous draw and at the other lab they use to perform a finger
                                                                        stick (like finger stick for a glucose test, she said). There were no issues.
                                         Guest was here for her second visit. She likes how convenient Theranos is since they are able to take her insurance, because at the
                                            other lab where she used to get the same lab work done she always had to pay $25 to get the test done. Now she can come to
7/13/2015           WAG3048   212464
                                       Theranos and not pay a cent. Only difference is that she now has to get a venous draw and at the other lab they use to perform a finger
                                                                        stick (like finger stick for a glucose test, she said). There were no issues.
                                       GUEST WAS REFERRED BY               . GUEST RECENTLY WENT TO SONORA ONLY TO FIND OUT THE HARD WAY THAT NOT ALL OF
7/14/2015           WAG3657   212742    HIS TESTS WERE COVERED WHEN HE RECEIVED A BILL FOR OVER $300. GUEST TOLD HIS DOCTOR THAT HE COULD NOT AFFORD TO
                                        CONTINUE DOING THE BLOOD TESTS. HIS DOCTOR SUGGESTED HE COME HERE. GUEST WAS VERY PLEASED WITH OUR LOW PRICES.
                                       Guest is a returning visitor, she mentioned how she has to come in and get blood drawn 3 times a week for a while and how it costs her
7/14/2015           WAG2771   212976    over $100 each visit if she does it through her doctor. She did have a little wait due to the guest in front of her. This guests blood was
                                                                               easy to draw though and she was able to leave quickly after.
                                          This was a first time guest, referred by her mom. She said she had to get blood work done and was going to do it at a lab near the
                                        hospital where she would be going later today for an appointment. But her mom said she could come here, which is right around the
                                       corner from where she lives, and get her tests taken care of for much less money than the other lab. She couldn't believe that her tests
7/15/2015           WAG3132   213291
                                       only cost $26. She was so thrilled by this and said she would be coming here from now on. She really likes this Walgreens too, she said
                                       the staff here is the friendliest of all the Walgreens she's been in, so that makes it even better. Collection went well, no issues, and she
                                                                                                was happy to do the survey.
                                       new guest was so happy they told him about us because he was going to get his labs done at Sonora and they said it would be $320 for
7/15/2015           WAG4046   213294   his labs and the cost here was $63 .He said it is unbelievable and Sonora told him ours is cheaper because we do our labs different and
                                                                          when i drew his tubes he laughed and said looks the same to me




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                                           DIRECT TESTING. GUEST WAS REFERRED BY A FRIEND. GUEST WENT ONTO THERANOS.COM AND FILLED OUT AND PRINTED A
                                        THERANOS LAB ORDER. WHEN HE TRIED TO USED IT AS A DT FORM CS INFORMED US THAT IT NEEDED TO BE ON A DT FORM. GUEST
                                       WAS UPSET BECAUSE HE DIDN'T UNDERSTAND WHY THE WEBSITE LET HIM FILL OUT THE FORM IF HE COULDN'T USE IT. I APOLOGIZED
7/15/2015           WAG3657   213331     AND ASKED HIM TO FILL OUT THE PAPER LAB ORDER.DESPITE THE DIFFICULTY CHECKING IN GUEST WAS HAPPY WITH HIS VISIT. HE
                                       LOVED OUR LOW PRICES AND SAID THAT HE PAID $250 FOR WHAT HE NORMALLY PAYS OVER $3000 FOR. GUEST DID NOT MIND THAT
                                       HE NEEDED A VENOUS DRAW. GUEST SAID THAT HE WOULD BE BRINGING IN SOME FAMILY MEMBERS LATER THIS WEEK AND THAT HE
                                                     WOULD HAVE THEM ORDER THE TESTS ON THE APP SO THAT CHECK‐IN GOES SMOOTHER FOR THEM.
                                        This is a new guest. She was referred by her physician. She said she was so happy her doctor told her about this because she has two
7/15/2015           WAG3727   213632    really good medical insurances and even with providing those, SQL still charged her $147 for lab work! She said she's going to tell her
                                                                     friends and family about us. She said more people need to know about this.
                                       First time guest DT, was very happy with the service. She said at LabCore the same ABO/RH test was $75 and here out of pocket it's only
7/15/2015           WAG3477   213651
                                                     $4. She was amazed and would come back to Theranos for all testing in the future. No issues with procedure.

                                       Guest was referred by doctor. She was very happy to use Theranos because of the incredible prices that Theranos offers, guest said that
7/16/2015           WAG3048   214377    before she used to pay up to $900 in labs. I informed her about direct testing and she seemed very pleased with it because there were
                                                                some tests that she would want to order for herself. There were no collection issues.
                                       Guest was sent in by Dr he mentioned not wanting to pay $70.00 at another lab when its $16.00 here now he will be coming to us when
7/17/2015           WAG3464   214947
                                                                                                           needed.
                                        This was a returning guest. He really likes the fact that he i able to get this test done here at Theranos for less than $3 when he used to
7/17/2015           WAG3464   215073
                                                                                pay sometimes up to $70. There were no collection issues.
                                         new guest sent from her doctor because she needs her medication but doesn't have health insurance to be able to afford the $270 to
7/13/2015           WAG4046   211969
                                                                                                 get her labs done at Sonora
                                         This Guest was a first time Guest, she was very happy to have found our services because of affordability, she has a health insurance
7/13/2015           WAG3477   212045    that does not kick for another month, our services saved her about $120. She was very happy with her visit and that the results would
                                                                                     be available in 24‐48 hours. No procedural issues.
7/13/2015           WAG3657   212321                              Theranos is affordable for the blood work for her because she did not have insurance.
                                         PP doc ref, really love how fast and convenient this is also that info is save in system for other locations, also love the prices and was
7/20/2015           WAG3477   215630
                                                                                 wowed by the app, is in sales and is going to promote us
                                        Guest said he was absolutely amazed at the price and likes the convenience. Guest did say he wished there were more locations open
7/20/2015           WAG3048   215651
                                                                                   at 6:00 am. Guest was happy with his visit, no issues.
                                       Patient was visiting from Arkansas and needed labwork. She was referred by her doctor here to Theranos. She was impressed with the
7/20/2015           WAG3177   215977
                                                                  convenience, prices and service and said she hopes Theranos will be in Arkansas soon!
7/20/2015           WAG4139   216001                         Guest was here for the first time for DT she is thrilled about our low prices. no procedural issues.
                                        Guest was on the phone price shopping with other labs while he was here for his lab work because one of the tests the doctor ordered
                                       could not be done a t our lab, but he was so amazed with our prices and happy. One of the tests was quoted to him to be $351 but our
7/20/2015           WAG6060   216215
                                       price was $9.27!!!!! That made me so proud to be a Theranos employee!!!! This man was so grateful he got a bit emotional and thanked
                                                                               me over and over! What a great feeling!!! This made my day!
                                       Guest was here for the first time and sent from his primary care Dr. He stated he was afraid of needles and this was hid first blood draw.
7/20/2015           WAG4139   216268
                                                                          He is happy about our prices since he is self pay. No procedural issues.
                                        First time Dr. referred, stack up Guest. Guest was okay with the wait time said it was still less then other places. Guest also mentioned
7/21/2015           WAG3477   216568
                                                                                                being happy with the prices.
7/21/2015           WAG3477   216595    First time Guest. Dr referred, Was really surprised and happy about the prices, said it would have cost her so much more at other labs.
                                       First time guest, she was referred by her Doctor, she loved how affordable our prices are specially since she has no insurance. No issues
7/21/2015           WAG5776   216603
                                                                                                    with collection.



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                                        first time guest‐‐ guest has no insurance so she was so happy about the prices we offer. venous draw and urine kit were collected with
7/21/2015           WAG2851   216693
                                                                                                       no issues.
                                         new guest‐‐ was referred by a friend because she does not have insurance and was amazed at how low our prices were. venous draw
7/21/2015           WAG2851   216713
                                                                                             was completed with no issues.
                                       Guest comes in every week for her lab tests. We were talking about her blood testing. She is amazed that the price of these tests are so
7/22/2015           WAG3464   217273
                                                    much more affordable here. We joke every week that we hope to not see each other next week. No issues.
                                         Guest's first visit with theranos. Guest was very pleased with our prices. Guest told me that for the same labs he did a couple months
                                          ago cost $60.00, but here it only costs $11.00. Check‐in time was quick and efficient. At perform‐ Sample was collected from the left
7/23/2015           WAG6241   217871
                                          middle finger, guest informed me that it was painless and left pleased with their visit. Perform time was delayed due to guest asking
                                                                                                    questions about results.
                                         First time visit for this guest to Theranos. Guest heard about us through her son who had come in for some tests. Guest stated by the
                                       time she goes to the doctor, gets a lab order & has to come back, it is outrageous. She loves that our prices are listed and that she owns
7/26/2015           WAG4793   219464
                                        her own test results. Guest was downloading our app while I was drawing her blood. Collection went well & she stated that the entire
                                                                                                     thing was easy peasy!
                                        This visit was conducted via Power Perform. This was a Direct Testing visit. . The guest seemed satisfied with his visit and he told me
7/25/2015           WAG6692   219050     that he could not believe how cost effective our service is. He told me that the last time that he had to have his labs drawn at Sonora
                                                                                             Quest he received a bill for $600.00.
                                          Guest was sent in by her Dr she stated she was pretty happy about paying only $100 for a test the hospital was charging much much
7/25/2015           WAG4139   219190
                                                        much more hundreds she did no know Theranos existed but now this will be her lab. No procedural issues.
                                       First time Guest with Theranos, referred by Physician. Check in was long due to transcription delay. This was guest first time using Direct
7/20/2015           WAG1076   216040      testing, guest mention that she wasn't feeling good today and she always have these labs that need to be done every four weeks. So
                                                                    said she loves that they only cost her $39.00 and she is able to keep up on her health.
                                        Guest was on the phone price shopping with other labs while he was here for his lab work because one of the tests the doctor ordered
                                       could not be done a t our lab, but he was so amazed with our prices and happy. One of the tests was quoted to him to be $351 but our
7/20/2015           WAG6060   216215
                                       price was $9.27!!!!! That made me so proud to be a Theranos employee!!!! This man was so grateful he got a bit emotional and thanked
                                                                                me over and over! What a great feeling!!! This made my day!
                                            GUEST WAS REFERRED BY                     . GUEST LIKED THAT WE ARE CONVENIENT. GUEST WAS VERY PLEASED WITH OUR PRICES.
7/21/2015           WAG3657   216422    GUEST SAID THAT LAST TIME HE GOT BLOOD WORK AT LABCORP HIS CO‐PAY WAS OVER $700. HE GOT THE SAME TESTS DONE TODAY
                                                                                                 FOR $72 BEFORE INSURANCE.
                                       Guest was referred by her doctor because of the location (close to her home) and prices. She has a high deductible and the labs that she
7/21/2015           WAG3464   216525
                                                                                        needed were under $40. No procedural issues.
                                           guest was very happy we now offer a reverse T3 for she would have had to go to another lab where it would cost her 100$. she was
7/21/2015           WAG2851   216682
                                                                       very impressed with our company. venous draw was completed with no issues.
                                       Guest was new to Theranos. She had a story to tell me about how she came to know Theranos. The test she needed would have been a
                                            total of $300 through Banner at the hospital her doctor works in. She set out to find the test for a cheaper cost since she knew her
                                        insurance was not going to cover that particular test. She was online doing research and came across Sonora Quest who would do the
7/22/2015           WAG4793   217184
                                       same test for about $150. And finally she found our website. She could not believe we only charged about $14 dollars for the same test.
                                       She is a resident of Sun Lakes and is very excited to tell all the people in her area about us. Her visit was quick, easy, and affordable. She
                                                                                                 was almost in tears so happy.
                                       Guest was a returning Guest, her visit today was a power perform check in with electronic order. The check in process reflects a longer
7/27/2015           WAG3477   219900      time only due to the WAG tech needing to become available to take payment for the visit. They were very happy the visit today was
                                                                                             less than $30. No procedural issues.
                                       Guest has been to Theranos before. She recommended us to her Dr.s office and ever since they've been sending over their guests to us.
7/27/2015           WAG1272   219991    She was told to go to lab corp and after she went once before she really didn't like it due to very expensive prices. For the test she got
                                                            here for $10.36 she paid $110.00 over there. never again did she go back thanks to Theranos.




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                                          Guest is a first time visitor. Her doctor ordered tests for her, but unfortunately they would have cost her over $2500.00 to get done
                                        elsewhere since her insurance does not cover labs. She told the doctor she would just rather not have them done, and he referred her
                                       to us. She came in and was thrilled with the $35 fee, so much better for her. She did have to travel about an hour, due to no Theranos in
7/28/2015           WAG3727   220619    her area yet. Her tubes were easy to fill. I gave her more info on direct testing and a map of all of our locations, and pointed out some
                                           that may be more convenient for her to visit on a regular basis. This was a wonderful visit, with such a sweet lady. She expressed
                                          throughout her whole visit how much our company will now impact her life, and she was so excited to have found us. Smooth visit,
                                                                                                    guest left very happy.
                                        This was guest first time here at Theranos and was referred by her doctor because her husband and her had been looking for a better
7/28/2015           WAG3048   220680     alternative since they used to pay out of pocket for these same labs. Their lab work used to be some what expensive until they tried
                                            Theranos. Now they are both happy they do not have to pay more than $20 for the same tests. There were no collection issues.

                                       Guest came in with his wife. He had not been to a Theranos location before and was referred by his doctor. He was very happy to know
7/28/2015           WAG3048   220684
                                              he did not have to pay more than $100 for a test that here at Theranos is less than $20. There were no collection issues.
                                       Guest was sent in by Dr he was here for the first time after finding out our prices, the cheapest lab he found was $50.00 he was thrilled
7/28/2015           WAG5504   220720
                                                                               he paid less then $12.00 at Theranos. No procedural issues.
                                        DT, power peform, new guest, was excited that test was only a fingerstick, and even more so that test was less than 5$, informed guest
7/28/2015           WAG6241   220843
                                                                                                   of how to get results,
                                           Guest was here at Theranos for the first time, she was very happy about our prices. She paid $45.00 here where at another lab the
7/29/2015           WAG5504   221545   same text was $90.00. I told her about how Theranos started and she was very impressed. She is a cancer survivor and is a hardstick and
                                                                                     was happy that i was able to get her the first time.
                                          The guest was really satisfied with her visit. She told me that she could not believe how quick our service is and She told me that last
7/30/2015           WAG6692   221702     time she had her Vitamin B‐12 done at Lab Core she had to pay over $300 but here it is only $20.35. The guest also told me that she is
                                                                               going to be telling everyone that she can to use our service.
                                        This was a first time guest, referred by her doctor. She said she has been having to get monthly tests that run her about $1000 every
7/31/2015           WAG3132   222591   time and this saved her about 60% of that and she was amazed by this. She had a good collection process too, she warned me that her
                                          veins roll and they have to go in her hands sometimes but there was no issue today and she was very pleased by how quick it was.
                                       great guest, she just left her doctors office she was told that medicare didn't cover her vitamin d test and it was going to be $236 so she
7/31/2015           WAG4620   222833
                                                                   was told to come to us by her doctor. she was really happy to only have to pay $20
                                       Guest is a first time visitor, he came in needing labs done and was asking me before his check in process why he should get his labs done
                                            with us versus other labs. I gave him a run down on what our company is about and answered the few questions he had. I also
                                         compared his prices, SQL would have charged him over $500 dollars, our prices were around $30. He checked in and I welcomed him
                                        back, He said friends have been referring him to us and since he has to get blood drawn fairly often, he wanted to try something new. I
7/31/2015           WAG3727   222867
                                        began the process of getting the one specimen tube that was needed filled. It was easy to do with a 21 gauge needle in his right ac. The
                                       rest of the visit went smoothly, and quickly. As I opened the door for the guest, he looked confused. I asked him what was wrong and he
                                            ask if that was seriously all that the visit required? I said yes and the guest said back That was the easiest blood draw I've ever
                                                                 experienced . I just smiled and said that for visiting theranos, hope we see you again soon!
                                       great guest, she had been calling around trying to find a place that would do this test but everyone she talked to wanted over $200 for
7/31/2015           WAG4620   222895
                                                                             it so she was really happy when we charged less than $30
                                       Guest comes in regularly for her blood work. She loves how affordable we are. She mentioned her being glad that she doesn't have to
 8/1/2015           WAG1272   223042
                                                            go back to Sonora Quest. She would have to pay $200 for what she does every three months.
                                       The guest was extremely happy because theranos save her a lot money. For the same test she paid more than $200 with Advanced Lab
 8/1/2015           WAG3657   223336    in Yuma. So, the guest drove from Yuma to get blood work with theranos in Phoenix. Even, she drove more than 5 hours she was so
                                                                                               happy with the services.




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                                        First time guest, was extremely pleased with our prices. She said for the same tests at Quest Lab it was over $100 and here it was less
 8/1/2015           WAG3477   223340
                                                                                             than $50. No issues with procedure.
                                       first time guest came in to do direct testing. his Doctor was going to charge him $120.00 for an office visit to come in for one test. very
 8/1/2015           WAG3049   223400
                                                                                                  happy with money saved.
                                        Guest was sent to Theranos by her doctor because our test prices, and when she was told her total after check in she was so amazed
 8/1/2015           WAG6060   223112
                                                                                     and relieved that she was teary eyed and so was I :)
                                        Guest is a first time visitor, she came in after her doctor found her last labs to be abnormal. She does not have insurance so she loved
7/27/2015           WAG3727   219978
                                                                               how our prices were so affordable for her.. Guest left happy.
                                       Power perform visit. He was very happy to be getting his blood drawn at an affordable price. He had know idea about direct testing so I
7/28/2015           WAG4793   220258
                                                                                was explaining it to him. He was very pleased with his visit.
                                       First time guest to theranos. The guest has his own business and can not afford insurance and that is why he was referred to theranos
7/28/2015           WAG5266   220420   by his doctor. The doctor guaranteed the guest theranos was the best choice for blood work. The doctor told the guest that not only is
                                                                       the blood work very affordable but theranos has been great to all his patients.
                                           Guest came in for direct testing said she did not have insurance and could not afford to see a doctor to get a lab order, was very
7/28/2015           WAG3048   220575
                                                                         thankful for Theranos. Guest was happy with her visit, no collection issues.
                                       First time guest to theranos. The guest came in for blood work and forgot the insurance card but after i told him the total amount due
7/28/2015           WAG5266   220692      he went ahead and paid it out of pocket. The guest didnt was very impressed with the affordable rates. The guest will continue to
                                                                                                            come.
                                        First time visit to Theranos, guest used the Direct testing method. Convenient to home, very friendly and cooperative. Guest enjoyed
7/28/2015           WAG5222   220702
                                                 the fast, easy finger stick procedure and like the affordable prices. No issues to report. Guest was satisfied with visit.

7/28/2015           WAG3657   220787          The guest liked theranos because of the prices and she came from Gila Bend to have an affordable services with theranos.
                                       Guest new to Theranos. She was complementing us on our affordable prices. She was grateful and overall just super chatty. She wanted
7/28/2015           WAG4793   220831     to let me know she had Hep C. I told her I treat everyone with the same care and that I am always very mindful about my process. I
                                                                   appreciated she would share that with and also found it a new experience.
                                         Patient is a perfect example of why we do what we do. He has been unemployed for many months and has not been feeling well. He
                                        tried several self help scenarios and didn't feel any better. He ended up spending nearly $300 just to get in to see a doctor and receive
                                       a lab order for testing. He heard about Theranos and was elated to be able to afford the tests his doctor has requested. He also is very
7/22/2015           WAG3177   217335
                                       grateful for DT, which he says he can now use for future health issues and avoid consecutive doctor appointments and some of the out‐
                                       of‐pocket costs that have prevented him from getting the care that he needs. He said to relay to anyone who will listen that Theranos is
                                                                   life changing for him and has made all the difference in the world to him personally.
                                       First time guest. Dr referred him because he asked if he knew of a less expensive place because he couldn't afford Sonora quest, Dr told
7/27/2015           WAG3049   219884
                                                              him about us and Guest was very educated about Elizabeth. Guest was happy with the visit.
                                         RETURN GUEST. GUEST LOVES HOW QUICK AND EASY IS IS TO GET HIS LABS DONE. GUEST HAS WEEKLY TESTING AND SAID THAT HE
7/30/2015           WAG3657   221910
                                                                 SAVES A LOT OF TIME NOW THAT HE'S NOT GOING TO SONORA QUEST ONCE A WEEK.
                                       • New guest who was originally directed to LabCorp by her doctor. Once she was at LabCorp she learned the cost for her tests was $630
 8/8/2015           WAG5776   227244       and asked her doctor for a different lab. The guest’s visit with us was $140. She said she loved the cost and experience and would
                                                                                                     definitely be back
                                        DIRECT TESTING NEW GUEST AND VISIT WENT GREAT.GUEST WAS DIRECT TO US BY THE NP FROM THE CLINIC BECAUSE OUR PRICES
 8/3/2015           WAG3163   223734   ARE CHEAPER THAN WHAT THEY WOULD'VE CHARGED HER. ALSO, SHE'D GET THE RESULTS A LOT FASTER. WITH THEM, SHE WOULD'VE
                                                        PAID $40 AND WITH US, SHE PAID UNDER $10; MAKING THAT $30 IN HER POCKET OF SAVINGS!!




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                                        GUEST WAS REFERRED BY             . SHE WAS RELIEVED TO SEE OUR LOW PRICES BECAUSE SHE IS UNINSURED AND STRUGGLING
 8/3/2015           WAG3657   223789    TO KEEP UP WITH HER MEDICAL DEBT. SHE WAS EXTREMELY WORRIED ABOUT HAVING A HIGH LAB BILL AND SAID THAT THIS WAS A
                                                   HUGE WEIGHT OFF HER SHOULDERS. GUEST WAS EXPECTING TO PAY AROUND $3,000 BUT ONLY PAID $32.
                                         GUEST WAS REFERRED BY       GUEST LOVED OUR PRICES BECAUSE SHE IS UNINSURED. GUEST ONLY PAID $7 FOR WHAT SHE
 8/3/2015           WAG3657   223822
                                                        WOULD HAVE PAID $300 ELSEWHERE. SHE WILL COME HERE FOR HER LABS FROM NOW ON.
                                        new guest‐‐ guest was very happy we were so close to her work and was so happy that her tests were only 12$ as opposed to 100's.
 8/5/2015           WAG2851   225543
                                        guest was very impressed with our hours of operation and the results turn around time. venous draw was completed with no issues,
                                       Guest has been to Theranos. He appreciates how cnvenient our location and prices are. For the same test in Sonora quest the test cost
 8/5/2015           WAG1272   225647
                                                                                                $25 and we offer it for $3.
                                        No Collection issues check in took awhile because the guest chose the Thyroid panel on the form for $34 and was charged for the full
 8/6/2015           WAG3912   225848
                                                                                                        $49 panel.
                                        Guest has been to Theranos before. She heard about us from a family friend. She would pay $125 and now she's paying around 25 for
 8/6/2015           WAG1272   226225
                                                                                              the tests. She's very thankful.
                                         The guest said that he recently had his labs drawn from a different lab and found out that his insurance was billed $2,300 for his visit
                                       and that he would be expected to pay the remaining $200 balance. The guest came to Theranos to have the same labs drawn and was
 8/6/2015           WAG3727   226321    shocked when he was told that if the visit wasn't covered by insurance he would owe just over $80! The guest said that the other labs
                                        are criminal and that we were easier to use and much more affordable. The guest was told about the survey before he left, the guest
                                                                                       said that he will return for any future labs.
                                       Direct Testing ‐ first time userReturn guest and visit went great.Guest came up and asked about how it worked and I told him. He asked
                                        me to look online to see something so I did and we found out his tests he wanted was $300+ elsewhere but here it was under $60. He
 8/7/2015           WAG3163   226481
                                         was amazed and happy he came here. He said he's keeping us a secret.Guest left with a big smile on his face and $240+ in his pocket
                                                                                                          saved!!
                                       This was a first time guest, he said he found us on ABC 15 website. He had been going to Labcorp to get his testing done and then every
                                        time would get slapped with a bill between $500 and $800. He went on the ABC 15 site because he remembered seeing something on
 8/5/2015           WAG3132   225183     the news about Theranos, and by that he was able to find this location, which was really close to both his house and doctor. He had a
                                          bit of a long check in, there was a doctor call to be made, verifying a test on the order, but overall it was a quick visit, in and out with
                                                  the procedure. He was happy to do the survey, and he thought it was awesome that we have the mobile app available.

                                          This was a first time guest, referred by her doctor. She said the doctor has a lab in house but told her if she used them it would be
 8/5/2015           WAG3132   225254       about $3000 for her tests, so he recommended she try us out. She lives really close and it was easy to get to and she was really
                                             impressed with the prices and how easy the whole process was. The collection went well and she was glad to do the survey.
                                        guest has no insurance so she very much likes our prices and believes that this company is going to go far, as we know. :) venous draw
 8/3/2015           WAG2851   224106
                                                                                             was completed with no issues
                                       First time guest, he was referred by Doctor. He was impressed n how little blood we need to run test. He loved our prices specially since
 8/4/2015           WAG5776   224457
                                                                    he has no insurance, no issues with collection.Power PerformAccession #224457
                                         Guests first time with Theranos, referred by physician. Check in was delayed due to new guest information, transcription, and guest
 8/8/2015           WAG3177   227295     stack up. Guest was a native Spanish speaker, felt more comfortable speaking in Spanish. Guest is self pay (no insurance) our lab is a
                                             God send for him, gave him a list of all our locations. Did well with the draw, no issues. Sent visit summary via text message.
                                        guest has no insurance so she very much likes our prices and believes that this company is going to go far, as we know. :) venous draw
 8/3/2015           WAG2851   224106
                                                                                             was completed with no issues
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                                         Guests first time with Theranos, referred by physician. Check in was delayed due to new guest information, transcription, and guest
 8/8/2015           WAG3177   227295     stack up. Guest was a native Spanish speaker, felt more comfortable speaking in Spanish. Guest is self pay (no insurance) our lab is a
                                             God send for him, gave him a list of all our locations. Did well with the draw, no issues. Sent visit summary via text message.
                                           Guest is a regularly returning Guest, she has a standing order and really appreciates our low cost and convenience of service. No
 8/3/2015           WAG3477   223726
                                                                                                    procedural issues.
                                       This was a first time guest, referred by her mother, who was here and said that she had a really good experience when she came in. She
 8/3/2015           WAG3132   223751     loved the convenience and cost effectiveness of Theranos. The guest was slightly nervous because she hadn't had a blood draw since
                                                                                      she was really little, but everything went well.
                                        The guest is new to Theranos and was referred by a friend who is a nurse. She is here for Direct Testing. The guest said that she did not
                                         know about us previous to the referral and did not know that she could order her own lab tests but is really happy to have this option
 8/3/2015           WAG3727   223928      because she does not want to wait until she can be seen by the doctor to get her lab tests done and the cost is very reasonable. The
                                        visit went good and the guest was happy. She was given information on the options available to her to receive her lab results and will
                                                                                               download the mobile app.
                                        The guest is new to Theranos and was referred by her physician. The visit went well and the guest was pleased with the visit. She said
 8/3/2015           WAG3727   223966   that she did not feel the needle stick at all. She was given information about the web and mobile applications and is going to set up the
                                                        web app. She also asked about Direct Testing and was amazed at how reasonable the cost of labs are.
                                         Power Perform, new guest,. The new guest had gone to Sonora Quest and LabCorp but couldn't afford their cost. Shewas advised to
8/10/2015           WAG6241   227838
                                                      come here by physician and was absolutely elated at how much cheaper we were (by at least $700!).
                                         This is a returned guest. He said he was referred by someone from his DR. office. He said that he normally would go to SQL and be
8/11/2015           WAG1197   228651      charged $800 for the tests that he would have done today. That is when he was told it is better to come here because it is more
                                         affordable. I had no issues with collection. I told guest about app and website. I also got his email because there wasn't one on file.
                                        Guest was a first time Guest, referred by her son who works for Walgreens in one of the many pharmacies. She was very concerned
8/11/2015           WAG3477   228690    about the price today , but her tests barely broke $40. She seemed pleased with the convenience and affordability of the the whole
                                                                                            process. No procedural issues.
                                        Guest was referred by her doctor because of our prices. She wasn't sure if her tests would be covered and it is only $100 here versus
8/11/2015           WAG3464   228696
                                                                        $500 at LabCorp. She was very grateful for that. No procedural issues.
                                       Guest came to Theranos because of the pricing, was quoted over $400 for the same tests at another lab. She was very pleased with her
8/11/2015          WAG13596   228757
                                                                                   entire visit and states it was a great experience.
                                       Guest was new to Theranos. She found our prices to be very affordable, she mentioned that the other lab that she went to at a urgent
8/11/2015           WAG1272   228933
                                                        care they charged her $60 for what we charged her $16 here. She was very pleased with our service.
                                       Spanish speaking guest was referred by his doctor to our services, he really very much appreciated the very affordable pricing, when he
8/12/2015           WAG3477   229302
                                                would go to Sonora Quest, his visit would cost him about $400, we saved him quite a bit today. No procedural issues.
                                       Guest was a first time Guest, this is a yearly exam for her and it would normally cost her over $400 dollars, today we saved her a lot of
8/12/2015           WAG3477   229331
                                                                           money and we are very convenient for her. No procedural issues.
                                       First time Guest with Theranos, referred by Physician. Check in was long due to transcription delay. Collection went great guest said he
8/12/2015           WAG1076   229430      lost his insurance a couple of months ago and did not have the $90.00 another lab was trying to charge him, so his Doctor told him
                                                                             about Theranos and he said he only paid $16.00 out of pocket.
                                        Guest was new to theranos and had did research on theranos for cost purposes. Guest stated that he would be saving $785.00 on his
8/12/2015           WAG3464   229686
                                                                             lab work by coming in today. Guest seemed pleased with visit.
8/12/2015           WAG2851   229804    This guest was here for DT and likes our prices, He paid $2.75 here for something he would've paid $40.00 for! No procedural issues.
                                          Guest was here for DT she is amazed at our prices and said she is tired of paying $150.00! When here its only $11.00 she is a true
8/12/2015           WAG2851   229852
                                                                                 supporter of Theranos and wished us all the best!



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                                        Guests first time with Theranos, referred by physician. Guest tried going to labcorp but due to high deductable were asking for $500,
8/12/2015           WAG3177   229957    asked physician if there was anywhere else she could go for her labs, suggested here. Was very glad to see $60 in comparison to the
                                       quote from labcorp. Guest had great veins, did very well with collection. Informed her of app and sent visit summary via text message.
                                        Guest was a returning Guest, she was a power perform check in. She was very grateful for the very inexpensive and affordable prices
8/13/2015           WAG3477   230345   that we offer. She had gone to Sonora Quest with a different lab order and they would have charged her $700 dollars to her insurance,
                                                                she instead came to us and the same lab order of tests cost her $59 with Theranos.
                                        Power Perform, guest was 1st sent to labcorp by doc.. was told test would cost her $1000, she really upset than try to get only thyroid
8/13/2015           WAG5776   230462      test done. They wouldnt break up the order. The doctor directed her to us she was so happy with the prices and the way she was
                                                                                                treated here today
                                        New guest and visit went great.Guest was referred by his dr and was told by his dr it was going to be no more than $5 but it was more
8/14/2015           WAG3163   230854
                                         than that. I let him know that his dr can access our website to get the prices and I also handed him a test menu with all the prices.

                                         This was the guest's first visit to Theranos. The check‐in time was quick and efficient. t. The guest seemed really satisfied with her
8/14/2015           WAG6692   231172   visit. The guest told me that she went to Lab Corp to have these same labs drawn last time and it cost her over $500 where it only cost
                                                her $49.73 to have them done here. She also told me that she could not believe how quick and efficient our service is.
                                        power perform 231214, great guest, they had just left the doctors office which uses sonora quest. her husband said with them that it
8/14/2015           WAG4620   231214      would of been $250 for all the tests. they were both really happy that she could find out the results himself. the guest didn't speak
                                                                much english she hasn't been in the country very long so the husband helped translate.
                                         The guest was referred to Theranos by his doctor. The guest was excited that he could get his labs done without an order and that it
                                       was going to cost less than $5.00. The camera was not able to capture a photo, Theranos support will be contacted about this issue. The
8/14/2015          WAG11182   231224   guest was a slow bleeder and clotted quickly, the guest was understanding about having the collection redone in order to make sure the
                                          specimen's integrity was maintained. The guest was able to complete the iPad survey and left happy with his visit despite multiple
                                                                                                      finger sticks.
                                       This was the first time that the guest visits Theranos, she mentioned to me that she is afraid of needles because everybody digs around
8/14/2015           WAG2851   231316   to find a good one. The guest said this time was the best lab experience she has ever had, especially because she usually pays over $300
                                                                       dollars and gets poor services of other labs, Theranos is now her go to lab!
                                       Returned Guest referred by                 . He was asking if and when we will start doing a DHT test, (Hormone test). He said he had gone
8/15/2015           WAG6582   231751    to Any time Labs and it was $140.00. He really wants it done but refuses to pay that much for a test and is really hoping Theranos will
                                                                                 provide the test one day as affordable as the rest of them.
                                       This was the guest's first visit to Theranos. She was here today fr her yearly exam, she said it would normally cost her over $400 dollars.
8/12/2015           WAG3477   229331
                                                           She said we we saved her a lot of money and we are very convenient for her. No procedural issues.
                                         Guest is an Internal Medicine Physician who sends most of his patients to Theranos, it was time for him to get some blood work so he
                                       came to check us out, he said the main concern is cost with all the other labs. He has paid up to $1,200 dollars for the same labs that he
8/17/2015           WAG2851   232192
                                           got done here today. He was thrilled and satisfied with everything he said the experience was great and he is glad that Theranos is
                                                                                                           around!
                                        Guest did her research for her MMR titer needed for her new job. she said online it showed to be over $100. But using Theranos it was
8/17/2015           WAG5504   232342
                                                                              a bit under $30. she was very happy to find out about this price.
                                        first time guest sent in by his doctor. very happy with the price. has been going to turnkey for labs and they charge him $50 for HgA1c.
8/17/2015           WAG3049   232671
                                                                                                    no procedural issues.
                                          return guest, said that when he found us, he loved our services and prices and will not go anywhere else. says that he hopes we put
8/18/2015           WAG6241   233233    those other jokers out of business because we have a great model and the other lab made him sign a form that said if they had a hard
                                                                          time with his insurance company, they would bill him $500 for their time.
                                        new guest, says she usually gets this test at sonora where it is well over 100$, is elated that we offer it for so much cheaper. guest will
8/18/2015           WAG6241   233763
                                                                                              be returning for future bloodwork



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                                       Guest in today for venous blood draw, performed w/o difficulty. Guest is a physician and came in with such amazement of how low cost
                                         theranos tests are. He stated that he went to another lab which was going to charge him over $100 for the test ordered and our cost
8/19/2015           WAG3177   234293
                                           was only a little over $30. He went on to say that theranos needs to put out commercials to let the public know more about the
                                                                                                        company.
                                         Guest was referred by his doctor. He was with his wife and they were talking to me about Medicare and what they are going through.
8/20/2015           WAG3464   234694    There was also a question on which doctor had ordered the labs. They were very happy to hear that if Medicare did not cover the tests
                                                                                            they would only have to pay $20.
                                       This is a new guest. She was referred by her job. She said she works for a women's health office. She said that she also loves our pricing.
8/20/2015           WAG3177   234716       She said she got a bill from Lab Corp for $600! She said that she loves that the prices are given upfront here. I had no issues with
                                                                                                        collection.
                                          Guest was sent by Dr, said that she normally pays $300.00 dollars for this test and is very happy to only pay $72.00 if the insurance
8/20/2015           WAG5668   234852
                                                                                         comes back to her. No procedural issues
                                         Guest in today for venous blood draw, performed w/o difficulty. guest moved here from Australia recently and visited another lab a
8/20/2015           WAG5453   235098      month or so go and stated he was charged $130 for the same test he is having here today but only being charged $13.00, he is very
                                                                                         pleased with cost and services provided.
                                        Guest was very happy with her visit today and said it was way more pleasant and cleaner and more convenient with way less wait time
                                       then the other labs she used to go to, and she was amazed with our prices. She said the last panel she had drawn at another lab cost her
8/20/2015           WAG6060   235131
                                        $1,000 after her insurance paid part of it, she was very impressed with Theranos and said she will only go to Theranos from now on for
                                                                                               her lab work! Awesome! :)
                                        Return guest. Guest thought that she had standing orders but we could not find them in the system. I called CS and spoke with Elena.
8/20/2015           WAG3657   235232    She was able to call the doctor and have them fax over an order. Guest did not mind the wait. Guest is uninsured and loves our prices.
                                           She said that she was previously going to Sonora Quest, where she paid over $600 a month. Now she pays only $80 per month.
                                         Guest is an M.A at a cardiologist office she says they send all their patients to Theranos, She also sated that she pays up to $300 for
8/21/2015           WAG5668   236134
                                                      something that was only $9.31 cents here!! she was very surprised and impressed, no procedural issues.
                                         Returning guest, was very happy with the service and the prices. She said that at Sonora Quest she had to pay almost $2000 for the
8/21/2015           WAG3477   236149
                                                                            same tests that cost $50 at Theranos. No issues with procedure.
                                         Both guests had been sent to another lab company and had been told that their labs would cost them over $200, so they came to us
8/22/2015           WAG6128   236463
                                                                                                          instead.
8/22/2015           WAG4507   236521                    Direct testing, the guest came down here from Tucson and wanted to try out Theranos. He loved it!!
                                       This was the guests first time at Theranos. She was amazed and really happy with us. She said she went down to Lab Corp and was told
8/18/2015           WAG3789   233409
                                                 it would cost her $200 for her labs. When she came here and it only cost her $40. She is cash pay with no insurance




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